           Case 11-19152                      Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27                                                           Desc Main
Bl (Official Form I) (4ItO)                               Document      Page 1 of 55
                                            lJnited States Bankruptcy Court
                                                District of Massachusetts                                                                                   Voluntary Petition
 Name of Debtor (if indi\'iduaL enter Last. First..   ,~liddle):                                    Name of Joinl Debtor (Spouse) (Last. !'irsL Middle).
 Wood.Boyle, Linda B.                                                                               Wood ·Boyle, Douglas R
 All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Ikbtor in the hlst S Years
 (include malTied, maiden, and trade names):                                                        (include manied, maiden, and trade names):




 Last four digits of Soc. Sec. or lndi\idual-Taxpayer LD. IITIN )l\o./(\)mplele                     Last lour digits elf Soc. Sel.:. or Individual-Taxpayer LD. (ITIN) No.!Complcte
 EIN (if more than one, state all): 3133                                                            ElN (if more thall Olle, state ali): 9625

 Street Address of Debtor (No. & Street, C'ity, State & Zip ('ode):                                 Street Address of Joint Debtor (No & Street City, Stare & Zip Code):
 61 Victory Road                                                                                    61 Victory Road
 Dorchester, MA                                                                                     Dorchester, MA
                                                           I 71PCODF 02122                                                                                         I ZIPCODE 02122
 Coullty of Residence Of of the Principal Place of Business:                                        Count\ of Resid..:nc..: or of the Prind[l'dl Place of Busmcss:
 Suffolk                                                                                            Suffolk
 Mailing Addr..:ss of Deotor (if different from slre..:t address)                                   Mailing Address of Joint Debtor ~ if diflcrclll Irom streel address):



                                                             lIPCODE                                                                                               I    ZIPCODE
 Location of Principal Ass..:t, of HuslIles, Debtor (if difJercnllrom "treet address above):

                                                                                                                                                                   I ZII'CODE
                     Type of Debtor                                           :'Iiaturt' of Rusin!'ss                                  Chapter of Bankrnptry Code Lnder \Vhich
                 (Form of Organization)                                         (Chec~ one box.)                                          the Petition is I~iled (Check one box.)
                    (Ch..:ck on C oox. )
[itlndividllal (indudes Joint Debtor,)
                                                               D llenlth Care Bll';iness
                                                               o Single Asset Real [statc a, defined in 1 I                   B     Chapler7
                                                                                                                                    Chapter <I
                                                                                                                                                               Chapter 15 Petition \(lr
                                                                                                                                                               Recognition or a Foreign
    See E'rhihit D on page 20[lllIsjiJrm.                        USC § IOI(SIS)                                               ~CbaPtcr       II                Main Proceeding
o   Corporation (includes LLe and LLPl                         o Railroad                                                                    12       D        Chapter 15 Petition ibr
D Partnership                                                  D Stockhroker                                                                 13                Recogllidon of II Foreign
o   Other (If debtor is lIot one of the ahove entitie'i.       D Commodity Broker                                                                              Nonllluin f'roceeding
    check this hox and state type of entit~ below.)            D Clcnring Bank                                                                        J'iatun.. ofllebts
                                                               o Other                                                                                (Check one box.)
                                    ----­                                                                                     FitDchb nrc primarily .:onSlIlllcr             o
                                                                                                                                                                         Dehts are primarily
                                                                                 Tax-Exempt [lltity                             dehts, defined in II U,SC                business dehts.
                                                                              (Ch,,>t;k box, ifapplicahlc.)                     § 101(8) as "incurred bvan
                                                               D    Tkhtor is a wx-c\.cmpt organization under                   indl"idual priJllllrily for a
                                                                    'I itle 26 oftlie United Stmes Code (the                    personal, fmnil~, or house-
                                                                    Internal Rewnuc Code).                                      hold purpose"
                      Filing Fee (Check one box)                                                                               Chllpter 11 J)ebtors
                                                                                                                          •


                                                                              Check      0111'   box:
[itFull Filing Fee attached
                                                                              o Debtor is a small business debwr as defined in I I U.S.c. § IOI(SID)
o Filing Fee to he paid      installments (Applicable to ind" iduab
                           111
                                                                              o Debtur is not a small husin..:ss dehtor as delincd in I 1 U. S.C ~ 10 51 Dl.            l(

    only). Must attach signed applicationi(lr the court's                     Chc('k if:
    consideration ecrtiJ'}ing that the debtor is unable to pay ICc            D    Dehtor's aggregate noncontingent liquidated debts owed 10 nOIl-insidcrs or affiliates arc less
    except in installments. Rule 1006(b). See Official Form 3A                     than $2,343,J00 (nmOllf1l .II/lyeI'I 10 adjus/nlf'n/ 0114/0113 and el'<")'lhree years liJereq[terf

D Filing Fce waiver requested (Applicable 10 chapter 7 individuals
                                                                                      ......   -----~~---*~-
                                                                                                                   -                --------~-~--     ...............    -­       ~M   _________




                                                                                 Cbeck all applicahle bous:
    only). Must attach signed application n'r the court':;                    [;:l A plan i, being med with this petitioll
    consideration. See Oflicial Foml 3B.
                                                                              o    Acceptance, ufthe plan \\cre solicited pn:petition from one or more classes of creditors, in
                                                                                   accordance with 11 U.S C § I 126(h).
  Stlltistil-al/Adminish'ative III formation                                                                                                                                 THIS SPACE [S FOR
  !]!ifDeblor estimates that funds will be available lor distrihUlion 10 unsecured creditors.                                                                                COURT USE ONLY
  D DeblOr estimates lhat. after any exempt property is exduded and administrative expenses pmd, there \\ ill be no funds available !()f
       distribution to unsecured creditors.
Estimated N umber of Creditors
!]!if    0           D                  0             D                 D                                       D
 1·49    50-99       100-199            200-999       1.000­            5JiOl·                 H).(lOI·         25,001­                50,001­        Oyer
                                                      5,OO()            10,000                 25.00U           50,()OO                100,000        100,000
 Estllnated Assets
D        0            !]!if     D            D              D                                                D                                        D
$0 to    $50,001 to $IOOJJOlto $500,001 to $1 ,O(JO,OO I to $10.000,001     $50,000,00 I III SIOO,OOO,nOI    $500,OOO,()O I                           More than
$50.000 $100,000 $500,000       'iiI million $10 million    to $50 million $100 millioll     10 S500million to $1 billion                             $1 hill ion
ESlimated Liabilities
         0            !]!if     0            D              0
$0 to    $50,001 to $100,001 ro $SOO,()OI to $1.000.001 to $10.000,00 I $SO.OOO,OOI to $100,000,001          $SOO.OOO,OOI                             More than
$SO,OOO $100,()OO $500.000      $1 million $10 million      w $50 111l11ion $lOO million     to $500 million 10 $1 billion                            $1 billion
               Case 11-19152                Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                                              Desc Main
BI (Official Form 1) (4/10)                                Document     Page 2 of 55                                                                          Pae:e 2
Voluntary Petition                                                                      Name of Ikbtor(s):
. (This page "must he completed andfiled in evel), case)                                Wood-Boyle, Linda B, & Wood -Boyle, Douglas R

                              Prior Bankruptcy Case Filed Within Last 8 Veal's (If more than two. attach additional sheet)
    I.oeation                                                                           Case Numher:                                    Dute Filed:
    Where Filed:None
    I.oeation                                                                           C<Jse Number:                                  I Date Filed:
    Where Filed:
        Pending Bankruptcy Case Filed by any Spouse, Partner                     01'   Affiliate of this Debtor (I r more thun one, att<Jch additional sheen
    Name of Debtor:                                                                     Case Number:                                    Date Filed:
I   None
rDistrict:                                                                              Rei<ltionship:


                                       Exhibit A                                                                            Exhibit B
    (To be completed ifdebtor is required to ule periodic report~ (e.g.. forms                              (To be completed if debtor is an individual
    10K and I OQ) with the Securities and Exdumge Commission pursuant to                                    \\hose debts are primarily consumer debts.)
    Section 13 or 15(d) of the Securities Exchange Act or 1Y34 and i~                   L the uttorne) for the petitioner named in the foregoing petition, declare
    requesting relief under chapter II.)                                                that I have inlonned the petitioner that [he or she] may proceed under
                                                                                        chapter 7. II. 12, or 13 of tille II, Cnited States Code. and have
        Exhibit A is attached and nwde a part of this Pdition.                          explained the relief available under each such chapter. I further certifY
                                                                                        thal I delivered to the debtor the notice required by § 342(b) of the
                                                                                        l:I<Jnkrllptcy Code.

                                                                                        X lsi Jeffrey M. Frankel, Esq.                                     9/21/11
                                                                                            "gtlaltlre   (,r Altornev ror Debtor!; I                           Date

                                                                               Exhibit C
    Docs the debtor 0\\ n or have possession of any property that poses or is alleged to pose a threat of imminent and identiJiable hann to public health
    or safety?
    o   Yes, and Exhibit C is attached ,111d made a pan or this petition.
    MNo
                                                                               Exhibit D
    {To be completed by every individual debtor. If ajoint petition is filed. each spouse must compkte and attach a separate Exhibit D.l
        1!1'   Exhibit D completed and signed by the debtor is att<Jehed and made a pal10fthis petition.
    If this is a joint petition:
        M Exhibit D also completed and signed by the joint debtor is aUached a made a part of this petition.
                                                         Information Regarding the Debtor - Venue
                                                                     (Check <Jny applicable hox.)
        1!1'   Debtor has been domiciled or has had a residence, principal pl<Jce of business, or principal a~sets in this District for 180 days immcdiate!)
               preceding the date of this petition or for a longer pat1 of such 180 days thun in any other District.
        o      rhcre is a bankruptcy case conccming debtor's amliate. general partner, or purtnership pending in this District.
        o      Debtor is a debtor in a Hll"eign proceeding and h<ls its principal place ofbllsinc,;s or principal assels in the United States in this District.
               or has no principal place of business or <Jssets in the United Swtes but is a defendant in an action or proceeding [in a tCderal or state court]
               in this District, or the interests ofthe parties \\ill be served in regard to the rcliefsollght in this District.

                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applieahk boxes.)
               Landlord has a judgment against the dcbtor fix possession of debtor's residence. (I r box checked, complete the followi ng.)


                                                        (Name of landlord or lessor that obt<lined judgment)


                                                                    (Addre~s   of landlord or lessor)
               Debtor claims that under upplicabk nonbunkruptcy law, there are circumstances under which the lkbtor would be pennitted to cure
               the entire monetary default that gave rise 10 the judgment lor possession. after the judgment fhr possession \Vus entered, und
               Debtor has included ill this petition the deposit \\ith the court of any rent that would become due during the 30-day period after the
               Jil ing of the petition.
        o      Debtor certifies that he/she has served the Landlord witb this ceniticatioll. (11 U.S.c. § 362(1)).
            Case 11-19152                     Doc 1       Filed 09/28/11 Entered 09/28/11 08:39:27                                                 Desc Main
Bl (Official Form 1) (4/10                                  Document     Page 3 of 55                                                                                                 Pa 'C 3
Voluntary Petition                                                                       Name of Deblor(s):
 (This page must be completed and{zled in eve,)' (}Use)                                  Wood-Boyle, Linda B. & Wood -Boyle, Douglas R

                                                                                   Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                                   Signature of a Foreign Representative
 [ declare under penalty of perjury t1wl the information                                            under penalty or pe~iury lhat the information provided ill thb
 petition is trut: and correct                                                           petition is true and com:..:!. that I am the foreign representative ofadebtor
 [lfpctilioner is un individual whost: debts are primaril) consumt:r debts               in a l()reign proceeding, and that 1 am aUlhorized to fil<: this pelilion.
 and has chosen to iiI<: under Chapter 7]1 am awarc that I may proceed                   (Check only one 1m".)
 under chapter 7. II. 12 l)f 13 of title II. United Stalt: Codt:. understand
 the relkf a\ ai lable undt:r each such chaptt:r. and choos~ to procct:d under
                                                                                         o    I r.::qu.::~t relief ill accordance with chapter 15 of title II, United
                                                                                              States Code. Certified copies ofthe documents required by 1 I l.t. S.c.
 chapter 7.
                                                                                              § 1515 arc attached.
 [If no attorney represenl;,; me and no bankruptcy petition preparer
 the petition! I have obtained and r.::ad the l10tke required b) II USc.
 342(b).
                                                                                     *        PurSllUlltto II Us.c. § 151 L 1 request reliefin accordance with the
                                                                                              chapter oftitle II specified in this petition. A cel1ilied copy of the
 1 request relief in llccordunce with the chapler oftitle 1 L Unikd States                    order granting recognition ofthe [oreignlllain proce..:ding is uttaehed.



 ~d~;;;;;~;:::::l~ xM~~~w~
 X [~Q~u!l'<lS 8~vyo~c:J~B()yle
                                          .     ...   ifJdA~~ . ..
                                                                                         X    SigllaHire orForejgu Represcmntive



                                                                                              Printed \amc of Forclgn Rt't)reScnlativc
     Signature oOomt Debtor                           Douglas Rood -               yle
                                                                                              Date


     §~J?~t~I!l!>~L~1,~£{)t1
     Dale

                              Signature of Attorney*                                                      Signature of Non-Attorney Petition PrelJarel'
                                                                                         I de..:lar..: under penalty of pe~iury that: 1) I am a bankruptcy petition
 X   [~~Jeff,eY'fl:~~E!~t'lk~tgsq.                                                       preparer as defined in II Us.c. ~ 110: 2) I prepared this document fbI'
     S,gnalure ofAttomcy lor Debtor(,!                                                   compensation and have provided the debtor with a copy ofthis document
                                                                                         und the notices and infonnation required under II U,S.c. §§ IIO(b).
     Jeffrey M. Frankel, Esq. 558099                                                     IIO(h) and 342(b): 3) if rules or guideline;; have been promulgated
     Jeffrey M. Frankel, Esq.                                                            pursuant to 11 U.S.<=. § 110(h) setting a maximum fee J()f services
     40 Willard Street, Suite 101                                                        chargeable by bankruptcy petition preparers. I have given the debtor
     Quincy, MA 02169                                                                    nolil:e ofthe maximum amount b.::fore prepuring any document for tiling
     (617) 302-4321 Fax: (617) 481-0756                                                  for a debtor or accepting any fcc from the debtor. as J't:quired ill that
     jmflegal@aol.com                                                                    ~ectilln. OIliciui Form 19 is attached,


                                                                                         Printed "\.une and lith;,


                                                                                         Social Se"mi!) "'umber (Ie Illc b"nkrllplc), I'etij;~n preparer is nor an 1fl(1;';idu~C;t"!C the
                                                                                         Social Sct:uril~' l1umher of the otfiCt;I'. prIncipal, responsih1c      or partner aftne
                                                                                         bankruptcy pelitH)n prepare... ) (Rc~lIir"d by II LS.C. ~ I
     ~epteI!l1l~r.21, 2Q1J
     D8lC
 *In a case in which § 707(b)(4)( D) appJj,,~, this signature ab" ~onslil11tc, a
 certification that the attorney has no knowledge aller an mquiry that the
 informatlOn in the schcduks is incorrect

              Signature of Debtor (Corporation/Partnership)                              X
 1 declare Linder penalty of perjury that the information provided in this                    Signature ot'Bcwk11lptcy Petltjoll Pn:parer or officer. principaL responsihle person,     Of
                                                                                              p<lrtn~r
                                                                                                     ""host.' social s.ecurity lllLmhcr is pr(wided abovl.'.
 petition is true and correct. and that I have been authorized to tile this
 petition on behalf of the debtor.
                                                                                              Dare
 The debtor requests relief in a..:cordance with the chapter of title 11.
                                                                                         Names and Social Security numbers of all olher individuals who
 United States Code, specified in this petition.
                                                                                         prepared or assisted in preparing thb document unle~s the bankrupt..:y
                                                                                         petition pre parer is not an individual:
 X
     Signature oj'/\lIthmimd IndiVIdual

                                                                                         If more than one person prepared thb document. ;Jtta..:h additional
     Printed Name oL\mhorizcd Illdividlw\                                                sheets contillming to the appropriak official fonn for each person.
                                                                                           bankruplcJ; }Jetitioll prepareI' 'sfai/u!"e to ('amply lcVilh the provisions
                                                                                                II and the Federal Rules ofBankru!,lcy Procedure may result
                                                                                                 or imphsonmenl or hoth / / USC § / /0: 18 I/S.C. § 156,
               Case 11-19152              Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27               Desc Main
                                                      Document     Page 4 of 55
      B201A (Form 201A) (12/09)

       WARNING: Effective December 1, 2009, the l5-day deadline to file schedules and certain other documents under
          Bankruptcy Rule l007(c) is shortened to 14 days. For fUliher information, see note at bottom of page 2

                                               UNITED STATES BANKRlIPTCY CO[lRT

                                       NOTICE TO CONSUMER DEBTOR(S) [lNDER §342(b)
                                                OF THE BANKRUPTCY CODE

               In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
      Describes briefly the services available from credit counseling services; (2) Describes briet1y the purposes, benefits and
      costs ofthe four types of bankruptcy proceedings you may commence: and (3) Informs you about bankruptcy crimes and
      notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

              You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
      advice of an attorney to learn of your rights and responsibilities should you decide to tile a petition. Court employees
      cannot give you legal advice.

            Notices from the bankruptcy co1ll1 are sent to the mailing address you list on your bankruptcy petition. In order to
   ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
fo c01ll1 of any changes in your address. If you are filing ajoint case (a single bankruptcy case for two individuals married to
 ~ each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
 ~ receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
(f)

 § statement with the court requesting that each spollse receive a separate copy of all notices.
&



              With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
u
      bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
.s
0>
      credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
~   days ]t~.fQX~ the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
~ by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
~ United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
ffi approved budget and credit cOllnseJing agencies. [~ach debtor in ajoillt case must c0l11p1ete the briefing.
@


            In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
      management instructional course before he or she can receive a discharge. The clerk also has a Iist of approved
      financial management instructional courses. Each debtor in a joint case must complete the course.

      2. IlteFQ!lI~It;!p!ersQ.ftl1.~.H;!!!kI!lPtcyCode Avail:tble to InclividuaICon~uIl1~rDel>tors

              CIt.:t.P!~.L.:z:   Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                Chapter 7 is designed for debtors in financial difficulty who do not Ilave the ability to pay their existing debts.
      Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case
      should be pennitted to proceed under chapter 7. If your income is greater than the median income for your state of
      residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
      have the right to tile a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
      to decide whether the case should be dismissed.
                Under chapter 7, you may claim certain of your property as exempt under govern ing law. A trustee may have the
      right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
      creditors.
                The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are tound to
      have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                 Case 11-19152             Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27               Desc Main
                                                       Document     Page 5 of 55
      B201A (Form 201A) (12/09)                                                                                                      Puge 2


      discharge and, ifit does, the purpose for which you filed the bankruptcy petition will be defeated.
               Even if you receive a general discharge, some palticular debts are not discharged under the law. Therefore, you
      may still be responsible for most taxes and student loans: debts incuned to pay nondischargeable taxes; domestic support
      and propelty settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
      which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
      motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
      from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
      that the debt is not discharged.

             <:::.lHmt~r.l~: Repayment of All or Part ofthe Debts of an Individual with Regular Income ($235 filing fee,
      $39 administrative fee: Total fee $274)
               Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
      installments over a period of time. YOll are only eligible for chapter 13 if your debts do not exceed celtain dollar amounts
      set forth in the Bankruptcy Code.
               Under chapter 13, you must file with the court a plan to repay your creditors all or part ofthe money that you owe
      them, using your future earnings. The period allowed by the court to repay your debts may be three years or jive years,
      depending upon your income and other factors. The court must approve your plan before it can take effect.
               After completing the payments under your plan, your debts are generally discharged except for domestic SUppOlt
      obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
-€    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and celtain long term
o
 ~    secured obligations.
~
<f)

                 <:::ll!!pJ~rH:    Reorganization ($1000 tiling fee, $39 administrative fee: Total fee $1039)
            Chapter 1 I is designed for the reorganization of a business but is also available to consumer debtors. Its
 ~ provisions are quite complicated, and any decision by an individual to file a chapter 1 1 petition should be reviewed with
 ~ an attorney.
:ll
Ol
aa
"I
                               U : Family Farmer or Fisherman ($200 filing fee, S39 administrative fee: Total fee $239)
                 <:::ll~m!.~r...
           Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
dl
~ future earn ings and is similar to chapter 13. The eligibility requ irements are restrictive, limiting its use to those \\- hose
~ income arises primarily from a family-owned farm or commercial fishing operation.
a
"i
~     3 . .ll~!!krllptcY<:::rim~!l~!1JI~yaihll:lility of BankrllptcyPapers to Law EnforcementQfficiaJs
@


               A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
      pe~iury, either orally or in writing, in connection with a bankruptcy case is subject to a tine, imprisonment, or both. All
      information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
      acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
      employees of the Depaltment of Justice.

      WARNING: Section 521 (a)( 1) of the Bankruptcy Code requires that you promptly file detailed information regarding
      your creditors, assets, I iabilities, income, expenses and general financial condition. Your bankruptcy case may be
      dismissed if this information is not filed with the cOllli within the time deadlines set by the Bankruptcy Code, the
      Bankruptcy Rules, and the local rules ofthe court. The documents and the deadlines for filing them are listed on Form
      B200, wh ich is posted at bttp://w\:Y~,lJsc:Qults:gov/b~fomls/bal1kruptcyJonns,htm l#proc~g1Ire.

      Many filing deadlines change on December 1,2009. Of special note, 12 rules that set 15 days to act are amended to
      require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter
      13 plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020,2015,2015.1,2016,4001,4002,6004, and 6007.
                    Case 11-19152
        1320113 (Form 20 IB) (12/09)
                                             Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                          Desc Main
                                                            Document     Page 6 of 55
                                                              United States Bankruptcy Court
                                                                 District of Massach usetts

        IN RE:                                                                                               Case No.
        WQQ9A:=!QYJEl•.bil'l(J~E!. & WQQ(J   -J3QYJ~LI:)Ql!gl~l'I.R                                          Chapter 1:3
                                                       Debtor(s)

                                          CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                              UNDER § 342(b) OF THE BANKRUPTCY CODE


                                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

        I, the [non-attorney] bankruptcy petition preparl'f signing the debtor's petilion, hl'reby certity that 1 delivered to the debtor the attached
        notice. as required by § 342(b) of the Bankruptcy Code.


        Printed Name and title, if any, of Bankruptcy Pl'tition Preparer                                    Social Security number (If the bankruptcy
        Address:                                                                                            petition preparer is not an individual, state
                                                                                                            the Social Security number of the officer.
                                                                                                            principal, responsible person, or partner of
                                                                                                            the bankruptcy petition preparer.)
                                                                                                            (Required by 11 U.S.c. § 110.)
€       X ~'~""'_"''''''''''''''.'
~       Signature of Bankruptcy Petition Preparer of officer, principal. responsible person. or
    ~   partner whose Social Security number is provided ahove.
$
                                                                      Certificate of the Debtor
~
(ji     I (We), the debtor(s), affirm that I (we) have received and read the attached notice. as required by § 342(b) of the Bankruptcy Code.
ro
(J)
q>
o
o


                                                                                                    WOOd-BOYle~~~' .~::'1!?()11
'?

    ~   W_~Q~~~9Yt~J~t~g!,~~!;,~;YYS!~Q~_,_~J~9yJ~LQ~Q"~gl~~_,R                    X lsi Linda B.
~       Printed N ame( s) of Debtor( s)                                               Signature of Debtor       IV~ Date
~
~
,;,
m
m
        Case No. (if known)                                                        X I: Doug/as_R Wood        -BOy/eV~_9/21i2011
                                                                                      Signature of 10int Debtor (if'!';                             Date
@




        Instructions: Attach a copy of Form B 201 A. Notice to Consumer Debtor{s) Under § 342(b) of the Bankruptcy Code.

        Use this form to certify that the debtor has received the notice required by 11 USc. § 342(b) only if the certification has
        NOT been made on the Voluntary Petition, Official Form B J • Exhibit B on page 2 of Form B 1 contains a certification by the debtor's
        attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
        page 3 of Form B I also include this certification.
                     Case 11-19152                   Doc 1             Filed 09/28/11 Entered 09/28/11 08:39:27                                       Desc Main
                                                                         Document     Page 7 of 55
                                                                         United States Bankruptcy Court
                                                                             District of Massachusetts

      IN RE:                                                                                                                       Case No.

      Y'[<:?-Q~:J~Qyl!!Jb!!I~ji§:~<WQQd:~QYI!!JJ.)Ql!gl~s< R                                                                       Chapter 13
                                                                D.:btor(s)

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
      I<     Pursuant to II usc. § 329(a) and Bankruptcy Rule 2016(bL I ccrti(y that I am the atlornev for the abow-named debtor(s) and that compensation paid 10 me within
             one year before the fllin!,! of the petition in bankruptcy< or a!,!reed to be paid Il) me< I()r services rendered or to be rendered on behalf of the debtor(s) in contemplation
             of or in connection with the bankruptcy cas.: is as foll{m s:

             For legal services< 1 have agred to accept                                                                                                          <   <   $      3!500~OO

             Prior to th.: filing orthis statem.:nt I have received                                                                                          <   <   •   $     JJ§OO~QO

             Balance Due                                                                                                                                                 $            0.00

      2<     Th.: source orthe compensation paid to me was:           Ii1Debtor   D Other (specify):
      3<     The source of compensation to be paid to me is:          D Debtor    D Other (specify):
      4<          I have not agre.:d to share the above-disclosed compensation with an) OTher person unless they are members and associates of my law finn.

                  I have. agreed to share the above-disclosed cll1npensatinn with a person or persons who are not members or associates nf my Inw firnL A copy orthe agreement,
                  together with a list of the names of the people sharing in the compensatiOlL is atlached.
2:­
c:
o
      5.     In return for the above-disclosed ICe, I have agreed to render legal scrvice for all aspects of the bankruptc} case, including:

             a<   Analysis of the debtor's linancial situation, and renderin!,! advice to the debtor in determining \\hether to file a petition in bankruptcy
             b<   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:
             c.   R.:pres.:ntation of th.: debtor at the meding of cn:ditors and confirmation hearing< and any adjourned hearings thereof;




      6<     By agreement with the debtor(s), the above disclosed fec does not include the foJ]owing services:
@




                                                                                         CERTIFlCAI'I()N
           I certify tha1 the t(Jregoing is a complete stakment of an} agreement or arrangement lelf pa}111ent tn me I(lr representation of the dcntor(s) in this bankruptcy
           proc.:eding.


                            §ElptElI11~!!r?JL?011                             lsi Jeffrey M, Frankel, Esq.
                                        Dale                                  Jeffrey M. Frankel, Esq. 558099
                                                                              Jeffrey M. Frankel, Esq.
                                                                              40 Willard Street, Suite 101
                                                                              Quincy, MA 02169
                                                                              (617) 302-4321 Fax: (617) 481-0756
                                                                              j mflegal@aol.com
                 Case 11-19152                 Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                    Desc Main
      III I) (Oflidal Form I, Exhibit I) (12/09)            Document     Page 8 of 55
                                                              United States Bankruptcy Court
                                                                 Oistrict of Massachusetts

      INRE:                                                                                            Case No.
                                                                                                       Chapter f3
                                                       Denlm(S)

                                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                               CREOIT COUNSELING REQUIREMENT
      Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
      do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
      whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
      and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
      to stop creditors' collection activities.
      EvelY individual debtor mllst jile this Exhibit D. ffajoint petition isfiled. each spouse !nust complete ilndjile a separale E>:hibit D. Check
      one o./the jive stalemel1ts below allu attach any documents as directed
      ~ 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
      the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
      performing a related budget analysis, and I have a certiticate from the agency desaibing the services provided to me. Anach a cop)' ofthe
      certificate and a copy (;/al1), debt repayment plan developed through the agency.
.;" D 2. Within the 180 days before the filing of my bankruptcy case. I received a briefing from a credit counseling agency approved by
o
~
   the United States trustee or bankruptcy administrator that outlined the opportunities for available credit cOllnseling and assisted nle in
'" pedurming a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You mustfile
i
"' a copy ofa certificate from the agency describing the services provided to yo II and a copy o/any debt repayment plan developed Ihrollgh
§ the agency no later than 14 days ajler your bankruptcy case is/lIed
o
4.
- D 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
~ days fi'om the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
~,' requirement so I can file my bankruptcy case now. /Summari:::e exigent circumstances here.]
g
V'




'9




o
')'
(')
m
'"@ If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
      you file your bankruptcy petition and promptly tile a certificate from the agency that pro-vided the counseling, together with a copy
      of any debt management plan developed through the agency. Failure to fultill these requirements may result in dismissal of your
      case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
      also be dismissed if the court is not satisfied with your reasons for tiling your bankruptcy case without first I'eceiving a nedit
      counseling briefing.

      D 4. I am not required to receive a credit counseling briel1ng because of: /Check the applicable statement.] [:Hust be accompanied by a
      motion for determination hy the court.}
          D    Incapacity. (Defined in 11 U.S.c. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
               of realizing and making rational decisions with respect to financial responsibilities.);
          D    Disability. (Defined in 11 U.S.c. § 109(h)(4) as physically impaired to the extent of being unable. after reasonable effort, to
               participate in a credit counseling brieting in person, by telephone. or through the Internet.);
          D    Active military duty in a military combat zone.
      D 5. The United States trustee or bankruptcy administrator has determined that the credit counsel ing requirement of II      U .S.c. § 109(h)
      does not apply in this district.
      I certify under penalty of perjury that the information provided above is true and correct.


      Signature of Debtor: t§£h!f1c:1CiE3!. Vtlo.od~f30yle
      Date: §~p!~ml:J.l3r?1J 2.0.11
Case 11-19152             Doc 1           Filed 09/28/11 Entered 09/28/11 08:39:27                                       Desc Main
                                            Document     Page 9 of 55




                                                                            Certificate Number: 00252-MD-CC-016033149

                                                                         1111111111111111111111111111111111111111111111111111111111111I11
                                                                                             0!l252<\fT)·CC -016033149




                             CERTIFICA TE OF COUNSELING


I CERTIFY that on September~20J~, at _~.:37 a clock PM EDT, Linda B~
Wood-BoyJe received from Institute for Financial LiteXCJ,cy, Inc., an agency
approved pursuant to 11 U .S.C. § ] 1] to provide credit counseling in the District
of Maryland, an individual [or group] briefing that complied with the provisions
of 11 U.S.C. §§ l09(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet andtelephone.




Date:   =Se=.,ip:c..:te=-I=TI=be=r--=I--=::3.L'=20:: . .;1:. .:1______________ By:


                                                                            Name: Alexander Love


                                                                            Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit hudget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any. developed through the
credit counseling agency. See 1J U .S.c. §§ 109(h) and 521 (b).
                  Case 11-19152                Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                    Desc Main
        U10 (Official Form 1, Exhihit 0) (12/09)           Document     Page 10 of 55
                                                              United States Bankruptcy Court
                                                                 I>istrict of Massachusetts

        INRE:                                                                                            Case No.
                                                                                                         Chapter
                                                       Deotor(,j

                                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                CREDIT COUNSELING REQUIREMENT
        Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. [fyou cannot
        do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you 'williose
        whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
        and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
        to stop creditors' collection activities.
        Every individual debtor mustjile this E1:hibit D. i/ajoil1t petition is filed. each spouse must complete andjl/e a separate Exhibit D. Check
        one o/the }ire statements below and attach af~~' documents as directf!d
        ~ I. Within the 180 days before the filing of my bankruptcy case, [ received a briefing from a credit counseling agency approved by
        the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
        performing a related budget analysis, and I have a ct.!rtiticate hom the agency describing the services provided to me. Attach a copy of/he
        certificate and a copy o/any debt repayment plan developed through the agency.
;,:.   2. Within the 180 days before the filing of my bankruptcy case. I received a briefing from a credit counseling agency approved by
o   the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted nle in
:o~ perfomling a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You musl jile
"' a copy o/a certificate jrom the agency describing the services provided to you and a copy o/any debt repayment plan developed through
 § the agency no later than 14 days after J'our hankruptcy case isjUed.
...o
~     3. J certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
~  days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
d>
&: requirement so I can file my bankruptcy case now. [/;;ummarize exigent circumstances here}
o
o
"i'




o
'",;,
~ If your certification is satisfactory to the coul'f, you must still obtain the credit counseling briefing within the first 30 days after
@

  you file your bankruptcy petition and promptly file a certificate from the agency that pro"ided the counseling, together with a copy
  of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
  case, Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
  also be dismissed if the court is not satisfied with your reasons fOl' filing your bankruptcy case without first receiving a cl'edit
  counseling briefing,
        04.1 am not required to receive a credit counseling briefing because of: [Check the applicable statement.} [lV/liST be accompanied by a
        motionfor determination by the court.)
            o Incapacity. (Defined in 11 U.S.c. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
              ofrealizing and making rational decisions with respect to financial responsibilities.);                            .
            o Disability. (Defined in II usc. § J09(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                participate in a credit counseling briefing in person, by telephone, or through the Internet.);
            o Active military duty in a military combat zone.
           5, The United States trustee or bankruptcy administrator has determined that the credit counseling requirement or II U.S.c. § 109(h)
        does not apply in this district.
        I certify under penalty of pel'jm'y that the information provided above is true and correct.


        S;gn."", of D'hto"       !~U)pugla' R)!,;'09~d'~9Y/et ~~
        Date: §~JltElr:l1J:~El.L2JL~(}11
Case 11-19152          Doc 1          Filed 09/28/11 Entered 09/28/11 08:39:27                    Desc Main
                                       Document     Page 11 of 55




                                                     Certjficate Number: 00252-MD-CC-O 16033148


                                                    11111111111111111111111111111111111111111111111111   11111111
                                                                        (J0252·MD·CC·OI6033 148




                         CERTIFICATE OF COUNSELING


I CERTIFY that on September 13, 2011, at 8:37 0 clock P.M EDT, Douglas R~
Wood-Boyle received from lnstitute_fgr Financial Literacv, Inc., an agency
approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the Di~trict
of Marylan~, an individual [or group] briefing that complied with the provisions
of 11 U.S.C. §§ l09(h) and Ill.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by                internet~md telephot.!~.




Date:   September J =-=3.--=2=0-=-1
                                  =--J_ _ _ __        By:       IslAlexander Love


                                                      Name: Alexander Love


                                                      Title:     Credit Counselor~~-




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankmptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, jf any, developed through the
credit counseling agency. See II USc. §§ 109(h) and 521(b).
             Case 11-19152                 Doc 1          Filed 09/28/11 Entered 09/28/11 08:39:27                                        Desc Main
B6 Summary (Form 6 - Summary) (12i07)
                                                           Document     Page 12 of 55
                                                              United States Bankruptcy Court
                                                                 District of Massachusetts

IN RE:                                                                                                                  Case No.
W()()9:Boyl~J. Lin.g~I:J,J!yvo()g ~.I:J()yle, [)OIJ91~~ R                                                               Chapter .1:3
                                               Debtor(s)

                                                                SUMMARY OF SCHEDULES
Indicate as to each schedule \\hether that schedule is attached and slate the number of pages in c;lch Report the totals fi'om Schedules A. B. D. E, F. r. and J III the boxes
pmvidcd. Add the amounts limn Schedules A and 13 to determine the total amounl of the debtor's a,sel,. Add lhe amounts of all daims Ii'om Schedules D. Laud F to
determine the IOtal amoun! of the debtor's liabilities Individual deblOrs also must COlllrlete the "Stalisllcal Summary of Cel1ain Lial1ilities and Related Data" if they fill:
a case under chapter 7. I I. or 1J.

                                                              ATTACHlm          ;\IMBlm (W
  :"I.nu: OF SCm:OlLE
                                                               (YES/;\O)           SHUTS                  ASSETS                 LIABILITIES                 (rrm:R           I




  A - Real Property                                               Yes                          1 $          229,400.00
                                                                                                                                                                              I


  B       Personal Property                                       Yes                          3 $            62,279.39
                                                                                                                                                                              I
                                                                                                                                                                              •


  C - Property Claimed as Exempt                                  Yes                          1


  0       Creditors Holding Secured Claims                        Yes                          2                             $        285,853.17


  E       Creditors Holding Unsecured Priority
          Claims (Total ofClailm on Schedule Fl
                                                                  Yes                          1                             $                 0.00


  F- Creditors Holding Unsecured
                                                                  Yes                          8                             $         95,509.19
     Nonpriority Claims

  G - Executory Contracts and Unexpired
                                                                  Yes                          1
      Leases


  H - Codebtors                                                   Yes                          1


  ]   -   Current Income ofIndividual
                                                                  Yes                          2                                                       $           6,878.73
          Debtor(s)

  j -     Current Expenditures of Individual
          Debtor(s)
                                                                  Yes                          2                                                      $            6,723.50


                                                                  TOTAL                       22 $          291,679.39 $              381,362.36
                Case 11-19152            Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                      Desc Main
    Form 6 Statistical Summary (12107)
                                                     Document     Page 13 of 55
                                                       United States Bankruptq Court
                                                          District of Massachusetts

    INRE:                                                                                           Case No.

    WQQ!H~.Qyl~L Li 1151~El. ~W:gQd:ElQ'yh:~,()Q4.9las R                                            Chapter 13.
                                                Dcblor(sl

              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.c. § 159)
    !fyou are an ind ividual debtor whose debts are primarily consumer debts. as defined ill § 101 (8) of the Bankruptcy Code (II U.S.C. §
    101 (8», filing a case under chapter 7, II or J 3, you must report all information requested below.

       Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to repOlt any
    information here.

    This information is for statistical purposes only under 28 U.S.c. § ] 59.

    Summarize the following types of liabilities, as rcported in thc Schedules, and total them.


        Type of Liability                                                                                         Amount

        Domestic Support Obligations (from Schedule E)                                                    $          0.00

        Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $          0.00

        Claims for Death or Personal Injury While Debtor Was Intoxkated (ft'om Schedule E) (whether
        disputed or undisputed)                                                                           S          0.00

        Student Loan Ob ligations (il'om Schedule F)                                                     Is          0.00

        Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
        Schedule E                                                                                         $         0.00

        Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)          $         0.00

                                                                                             TOTAL         $          0.00


~       State the following:
~   i   Average Income (ft'om Schedule L Line 16)                                                        .$       6,8~
        Average Expenses (from Schedule J, Line 18)                                                        $      6,723.50

        Current Monthly Income (1[om Form 22A Line 12; OR, Form 22B Line 11: OR, Form 22C
        Line 20 )                                                                                          S      6,346.15


        State the following:

        I. Total from Schedule D, "UNSECURED PORTION. IF ANY" column                                                         $    56.453.17:

        2. Total from Schedule E. "AMOUNT ENTITLED TO PRIORITY" column.                                    S          0.00

        J. Total from Schedule E, "AMOLJNT NOT ENTITLED TO PRIORITY, IF ANY" column                                          S         0.00

        4. Total from Schedule F                                                                                             $    95,509.19

        5. Total of non-priority unsecured debt (sum of I, 3, and 4)                                                         $   151,962.36
             Case 11-19152
86,\ (Official Form 6A) (12107)
                                            Doc 1          Filed 09/28/11 Entered 09/28/11 08:39:27                                          Desc Main
                                                            Document     Page 14 of 55
IN RE      Wo()c:l~BoylE!JL.incl~..I:"i.'.& W()od -Boyle, Douglas R                                                         Case No.
                                                      Debtor! ,)                                                                                       (If known)

                                                            SCHEDUL}~            A - REAL PROPERTY
   Except as directed below. list all real property in which the debtor has any legal. equilable. or future interest. including all property owned as 11 cotlln:1l1t community
propcrt}, or in which the debtor has a liIi: estate, Include any property in \\hich the debtor hold" right;; and powers exerCIsable for the debtor', <)Im henefit If the debtor is
married, state \\hether the husband. II ife, hoth, or the marital community own the propeny by placmg an "H, "W" ".I," or "CO' in the colulllnlahded "Ilusband. Wife. Joint
or Community"If the debtor holds no interest in real propert:-, l\rite "None" under "Descriplion and (ocalioll of Property,"

  1)0   not inclllde interests ill eXe\'utory contracts and unnpil'ed leases Illi this schedule. List them in St'hedulc G - ,"xeclltory Contracts and I:llt'xpired Leases.

   If an enlity claims 10 have a lien or hold a secured interest in any property. state lhe amount of the secured claim See Schedule D, Ifno entity claims 10 hold n secured
interest in the prop!rly, write "None" in lhe column labeled" Amount of Secured Claim."

  If the dehtor is an individual or if ~1 joint petition is liIed. state the amount of any exemption daimed in the property only in Sc:hedule C - Properly Claimed as Exempt




                                                                                                                                                          ·\MOl;",T OJ- SI:CLRE!l
                         IJ[SCRIPTlON A,\D LOCi\110, OF l'IWPtR1Y
                                                                                               I!';TLRlsr   I~   PROPERTY                                         nAIM




61 Victory Road, Unit 3, Dorchester, MA 02122 (aka 57 Victory                                                                           228,900.00                281,189.1
Road, Unit 3, Dorchester, MA 02122)
Timeshare Interest, InnSeason Resorts Surfside, Falmouth, MA                                                                                  500.00                  2,094.02




                                                                                                                       TOTAL            229,400.00
                                                                                                                               (Report also on Summary of Schedules)
              Case 11-19152                    Doc 1           Filed 09/28/11 Entered 09/28/11 08:39:27                                   Desc Main
B6B (Ollicilll Form 68) (I 2107)
                                                                Document     Page 15 of 55
IN RE       \N()()c1:EI()yl~J~,=inda.. B~    & \N()od ·Boyl~, ~[)ouglas .R                                                    Case No.
                                                                Debtori s)                                                                                  (I H:1J(l\\ 11 )


                                                             SCHEDULE B -PERSONALPROPERTY
   Except as diredcd below, li,t all personal property of the dehtor or \\llate~er kind, If tile debtor has no properly in one or more of the categories, place an "x" in the
appropriate position in the .:olumn labeled "None:' If additional space is needed in any category. attach a separate sheet properly identified with the case name, case number.
and the numher of the category. If the debtor is malTied, state "heth.:r the husband, wik both, or the mnrital communit} own the property by placing an "11:' "W:' ".I:' or
"e" in the eolumn labeled "Husband, Wir.:, Joint or Communit} " If the debtor is an individual (>r ajoint petition is filed. Slate the amount of an} exemptions claimed only
in Schedule C Property Claimed as Exempt.

  Do nof list interests in executory contracts and unexpired lells,'s on this schedule, List them in Schedule G - Executory Contracts and Lnexpircd Leases.

  I f the property is heing held for the dehtor by someone else, stale that person's name and address under "Description and Location of Property." It'the property is being
hdd for a minor child. simply stale the ehild's initials and the name and ;lddress of/he ..:hi1ll'S parent (lr guardian. sueh as "A.lL a minor child, by John Doc. guardian." Do
                                                     *
not disclose the child's oame, SCI!, 11 U,S,C. 112 and Fed, R. Ihnkr. I' 1007(m),

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                                                                                                                                                  Q;:             CTRRFNr VAU.'Eor
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                 rVPE   Of PROPERTY                                            DESCRIPTIO"   .I;"D LOCAl to;" Of   PROPERTY                       ~ f'
                                                                                                                                                  ClQ
                                                                                                                                                                    LJEDUCTT\G ANY
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                                                                                                                                                  ~a
                                                                                                                                                  ;r.
                                                                                                                                                                       FXI::I>IPflO\i

                                                                                                                                                  ='
   I. Cash on hand                                       X
   2. Checking. savings or other tlnancial                   Citizens Checking Account                                                                                           800.00
      accounts, .:crtmentes of deposit or
                                                             Citizens Savings Account                                                                                           1,000.00
      shares in banks. savings and loan.
      thrift. building and loan, and                         Metro Credit Union Checking Account                                                                                1,155.78
      homestead associations. or credit
      un ions. brokerage houses. or
      cooperatiYes,
   3, Security deposits with   publi~ utilities.         X
         telephone companies, landlords. amI
         others.
   4. Household goods and furnishings,                       Furniture                                                                                                          3,000.00
         include audio, Yideo. and computer
         equipment
   5. Books. pictures and other art     o~jc..:ts,       X
         antiques, stamp, coin. recmd, tape,
         compact disc, and other collections or
         collectibles.
   6.    Wearing appareL                                     Clothing                                                                                                            800.00
   .,
   /,    Furs and jewelry .                                  Jewelry                                                                                                            1,000.00
   S. Fircamls and sports, photographic,                 X
         and other hobby equipment.
   (J.   Interest in insurance policies. Name                Prudential Life Insurance Policy                                                       H                           3,847.25
         insuranct: company of each policy and
                                                             SBLI Life Insurance Policy                                                             H                                   0.00
         itemize surrender or refund value of
         each.
  10. Annuities. ftemizc and name each                   X
      issue,
  II     Interests in an education IRA as                X
         defined in 26 US.C § 530(b)( I) or
         under a qualified State tuition plan as
         dctincd in 26 Us.c. ~ 529(b)( I),
         Give particulars, (File separately the
         record(s) of any such interest(s), II
         USC § 521(~).)
  12. Interests in IRA. ER ISA, Keogh. (l[                   Eastern Bank IRA                                                                                                   4,069.22
      OUler pension or prollt sharing plans,
                                                             PIA PensionJ401 k Plan                                                                                            12,841.30
      Give particulars,
                                                             TlA CREFF Pension Plan                                                                                            33,765.84
  13. Stock and interests in incorporated                X
         and unincorporated businesses,
         Itemize,
            Case 11-19152                    Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                                  Desc Main
B6B (Ofticial Form 6B) (12/07) - Cont.                   Document     Page 16 of 55
IN RE     V\loQd~~QylE!,LinclaB~ ~            yYo()d:Boyle,Oouglas R                                                   Case No.
                                                         Debtor!s)                                                                             (If known)

                                                       SCHEDULE B - PERSONAL PROPERTY
                                                              (Continuation Sheet)

                                                                                                                                     ,..
                                                                                                                                     z
                                                                                                                                     ~¢:                ceRRI'!' r \'AI or
                                                   N                                                                                 ;.iz
                                                                                                                                     ..... :.:;;       DEBT OR'S INTEREST I~
                                                                                                                                                        PR( WERTY Wl1110UT
               TYPJ:. OF PROPERTY
                                                   0                   [)1'~CRII'110o;   c\'SD JOCA noo; OF PROPERTY                 ~~                   D[[llTTlNG ANY
                                                   N
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                                                                                                                                     zw                 SECURED ClAIM OR
                                                                                                                                     -='taG                  FXEMP'IJO"
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  14. Inlerests in partnerships or joint           X
      ventures. Itemize.
  15. Gowrnmcnt and corporate bonds and            X
      oTher negotiable and non-negotiable
      instruments.
  16. AcC{)unts re<.:ei\able.                      X
  17. Alimony. mailll<::nanec, support and         X
      property settlements in which the
      debtor is or may be entitled. Give
      particulars.
  18. Other liquidated debts owed to debtor        X
      including tax refunds. Give
      particulars.
 19. Equitable or future interest, lite            X
      eslates. and rights or powers
      exen:isabk for the henetiT ofthc
      debTor other than those listed in
      Schedule A - Real Property.
 20. Contingent and noncontingcnt                  X
       interests in estaTe of a decedent death
       bencHt pJan, life insufllnce policy. or
       trust
 21. Other contingent and unliquidated             X
       claims of every nature. including tax
       refunds, counterclaims of the debtor.
       and rights to sCIOIT dnims. Give
       estimated value of each.
 22. Patents, copyrights, and other                X
       intellectual propcrty. Give particu lars.
 23. Licenses. lTanchiscs, and other               X
     general intangibles. Giw particulars.
 24. Customer lists or other compilations          X
      containing personally identifiahle
      infonnntion (as defined in II u.s.c §
       101(4IA)) provided to the debtor by
      individuals in connection with
      obtaining n product or service Ii'om
      the debtor primarily lor personal.
      lamil y, or household purposes
 25. Automobiles. trucks, trailers. and            X
     other vehicles and accessories.
 26. Boats, motors, and ac.:essories.              X
 27. Airaaft and accessories.                      X
 28. Office equipment. fumishings. and             X
      supplies.
 29. Machinery> fixtures. equipment. and           X
       supplIes used   1I\   bU511lcss.
 30   Il}venlory.                                  X
 31. AlIll1lais.                                   X
 32. Crops - growing or harvested. Give            X
     particlliars.
 33. Fanning equipment and implements.             X
                                                                                                                                                   I
             Case 11-19152
S6S (Official Fonn 6B) (12/07) - ConI.
                                           Doc 1    Filed 09/28/11 Entered 09/28/11 08:39:27                                 Desc Main
                                                     Document     Page 17 of 55
IN RE       vvo()(j:~130Y'lfll ~inda B~ .iVV()o(j-I3()yle, DouglasR                                            Case No.
                                                       Debtor(sj                                                                        ([fknown)

                                                   SCHEJ)ULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)

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                                                                                                                                           DEB TOR'S I", ERI:S r I';
                                                                                                                                            PROPERTY WITHOU
                TYPE OF PIUWERTY                                      DESCRIPTlO'\ A,J) Lncxno, OF PIWI'ERIY
                                                                                                                                              f)EDUI~n"G A,y
                                                                                                                                            SECI'RED CLAIM OR
                                                                                                                                                FXEMPTIO,




    34. Farm supplies, chemicals. and le.:d.   X
    35, Other per,onal property of an} kind    X
        not already listed. Itemize.




                                                                                                                              TOTAL L ......_ _ _-
                                                                                                                                                62,279.39
                                                                                                                                                   ' -_ _- '


                                                                                                         (lnclllde amounts Ii-om any continuation sheels allachcd.
~   __ .~~Q conlinuation sheets attached                                                                             Reporl total also on Summary of Schedules.)
              Case 11-19152
B6C (Official Form 6(:) (04/10)
                                            Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                                     Desc Main
                                                          Document     Page 18 of 55
IN RE VVood-BClyle,LindCi.Et.&.W()od -Boyle,.pouglas.R                                                                 Case No.
                                                          Debtor! S I                                                                           (lfknoWll)

                                            SCHEDllLE C - PROPERTY CLAIMED AS                                        EXE~IPT

Deotor dects the exemplions to \\hich debtor is entitled under·                        D Check irdebtor dmms a homestead exemption that exceed,; $146A50. *
(Check one box)

  !iti I U.S.c. § 522(0)(2)
  D II    USC     *
                  522(b)(J)

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                  Dt.SCRlpno" OF PROPLRTi                               SPECifY LA'.\ PROVIIJI\G f."CH LXE\ClPT1O\
                                                                                                                              rXE\WflO>;          WI mOCT Dr:f)CCTL\G
                                                                                                                                                      I' XE\I1'TIO\S

SCHEDULE B - PERSONAL PROPERTY
Citizens Checking Account                                       11 USC § 522(d)(5)                                                     800.00                  800.00
Citizens Savings Account                                        11 USC § 522(d)(5)                                                  1,000.00                  1,000.00
Metro Credit Union Checking Account                             11 USC § 522(d)(5)                                                     500.00                 1,155.78
                                                                11 USC § 522(d)(5)                                                     655.78
Furniture                                                       11 USC § 522(d)(3)                                                  3,000.00                  3,000.00
Clothing                                                        11 USC § 522(d)(3)                                                     800.00                  800.00    1




Jewelry                                                         11 USC § 522(d)(4)                                                  1,000.00                  1,000.00
Prudential Life Insurance Policy                                11 USC § 522(d)(7)                                                  3,847.25                  3,847.25
Eastern Bank IRA                                                11 USC § 522(d)(12)                                                 4,069.22                  4,069.22
PIA PensionJ401 k Plan                                          11 USC § 522(d)(12)                                                12,841.30                 12,841.30
TIA CREFF Pension Plan                                          11 USC § 522(d)(12)                                                33,765.84                 33,765.84




                                                            1



* Amount              10   adiustment on 4 ·1:13            three veal's t/1('reafrer witll respect to cases commenced 011 or after [he date ofadjlls/ment.
             Case 11-19152                            Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                                                         Desc Main
B6D (Official form 6D) (12/07)                                    Document     Page 19 of 55
IN R E    VVo()<.t~EI()yle, Linda R 8.VVood -Boyle, Douglas. R                                                                   Case No.
                                                Debtons)                                                                                                                     (lfknOl\II)

                                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
   State the nan1(\ mailing address. including zip code. and la,t four digits of any account number (If all entilies holding claims secur~'(] bj propel1y of the debtor as ofllle
date of filing of the pClition. The complete account Humber of any account the debtor has with the creditor is us.:fullO the tillstee and the creditor and may be provided if
the debtor chooses 10 do so. List creditor,; holding at! types of secured interests sllch as judgment liens. ganllshmcnts, stawLofj liens, mongagcs, deeds of trust, and other
security interests.
  Lht cn:ditors in alphabetical order to the extent practicabk If a minor child is the creditor. state the child's initials and the nam~ and address of the child's parent Of
guardian. such as "A.B., a minor child. by John Doe. guardian." Do not dlsdosc the child's name. See, I I USc. ~ 112 and F~d. R. Bunkr. P 1007(m) If all secufed creditors
will not iit on this page, use the contimmtioJl shCCl provided.
  If any entilY other than a spollSe in a joint case may be jointly liable Oil a claim. place an "X" in the column labeled "Codebtor. indude the entity on the appn)priatc
schedule of creditors, und complete Schedule H Codcblllrs. If a joilll petition is filed. slatc whether the husband. wife, both of them. or the marital community may be liable
on each claim by placing an "11:' ··W,"           --r
                                              or "C' in the column Inbeled ·'Husband. Wife. Joint or Community."

   If the claim is contingem, place an "X" in the eolumnlabded '·Contingell1." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim
is disputed, place an ··X·' in the column labeled "Disputed:· (You may necd to place an "X" in more than one o I' these three columns)

   Tot«llh" columns labeh.:d "Amount of Claim Without Deducting Value of CollaIeraj" und "l:nsc.:ured Portion, if/my" in the boxes bbekd 'Total(,)" on the la;;! shed
of the completed schedule. Rejl\Jlt the total 110m the column labded ··Amount of Claim Without Deducting Value of Collateral" also on the Summary of Schedules and.
if the deotor is an individual with primarily consumer debts, repon the total from lhe column labeled "Unsecured ['onion. if Any" Oil the Statistical Summary of Certain
Liabilities alld Related Data.

D Check this box if debtor has no creditors holding secured claims to repol1 on this Schedule D.

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    ACCOUj\;T NO. 188694175                                             Second Mortgage on Primary Residence                                                        50,998.28
                                                                        located at 61 Victory Road, Unit 3,
    Bank Of America
                                                                       IDorchester, MA 02122
    450 American Street #SV416
    Simi Valley, CA 93065                                                                                                                                                          i



                                                                           VALUE:);     228,900.00
    ACCOliNT NO.                                                       Assignee or other notification for:
    Titanium Solutions                                                 Bank Of America
                                                                                                                                                                                   I

    3023 HSBC Way, Ste. 200
    Fort Hill, SC 29707

                                                                           VALL'E:);
                                                                                                                                                                                                                   I
    ACCOLINT NO.   208019845                                     X         Principal Morgage on Primary Residence                                                 230,190.87                      52,289.15
 Bank Of America                                                           located at 61 Victory Road, Unit 3,                                                                                                     I


,450 American Street#SV416                                                 Dorchester, MA 02122
•Simi Valley, CA 93065

!                                                                      IVALUE $         228,900,00
IACCOllNT NO. 1025                                               X J !Auto Loan                                                                                        2,570.00.                   2,570.00
    Chase Auto Finance
                                                                       i
    PO Box 901076
    Fort Worth, TX 76101

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                                                                                                                                        Subtotal
          continuation sheets attached                                                                                      (Total of this page)              $ 283,759.15 $                      54,859,15
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              Case 11-19152
U6D (Official Form 6D) (12/07) - ConI.
                                                               Doc 1    Filed 09/28/11 Entered 09/28/11 08:39:27                                                    Desc Main
                                                                         Document     Page 20 of 55
IN RE Wood-Boyle,Linclli                                 B:~   Wogd ~l?oyle,Douglas R                                                    Case No.
                                                                        Dl:btor(s)                                                                                                  IIfkno\\I1)

                                                          SCHEDULE D - CREDITORS HOL})ING SECURED CLAIMS
                                                                                     (Continuation Sheet)
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                     (\"f'C   fJf\l!'UCflOI/.\ ·-lnt)\-l'.}                                      PR{lPERTV SI;BJECT TO LIE'                                          VALUE or
                                                                                                                                                                    COLLATElt\l

                                                                           §=

    ACCOUNT NO.      11175                                                       Maintenance Fee Arrears concerning                                                    2,094.02                       1,594.02
                                                                                 Timeshare Interest, Falmouth, MA
    InnSeason Vacation Club
    Attn: Back-Deed Department
    72-B Hazel Mill Road
    Asheville, NC 28806
                                                                                 VALUI S 500.00
    ACCOUNT NO.                                                                  Assignee or other notification for:
    Continental Central Credit Of MA Inc.                                        InnSeason Vacation Club
    5611 Palmer Way, Ste. G
    Carlsbad, CA 92010

                                                                                 VALUE $
    ACCOUNT NO.                                                                  Assignee or other notification for:
    Continental Central Credit, Inc.                                             InnSeason Vacation Club
    PO Box 131120
    Carlsbad, CA 92013

                                                                                 VALUE S

    ACCOlivr NO                                                                  Assignee or other notification for:
    Pinnacle Recovery Inc.                                                       InnSeason Vacation Club
    PO Box 130848
    Carlsbad, CA 92013

                                                                                 VAUiF S

    ACCOlrNT NO,




                                                                                 VAUJFS

    ACCOliNT NO.




,                                                                                VALliI' $
Sheet no.       10f          1 continuation sheet~ n1ta~hed to                                                                                 Subtotal
Schedule oj' Creditors Holding Secured Claims                                                                                      (Tolal of this page)         $      2,094.02 $                     1,594.02
                                                                                                                                                 Total
                                                                                                                               (\\c only on last page)          $ 285,853.17 $                       56,453.17
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                                                   Doc 1           Filed 09/28/11 Entered 09/28/11 08:39:27                                             Desc Main
                                                                    Document     Page 21 of 55
      IN RE     W'c>()<J:Boyl~, LiIl,d,a,.I3,~   &W'c>()<J -Bc>yle, Douglas R                                                         Case No.
                                                                    DehlOr(S)                                                                                    (Ifkno\\n)

                                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAH1S
         A complete list of claims entitled to priority, listed separately by type of priority, is to be ser fjmh on the shcch provided. Onl) holders of unsecured claims entitled to
      priority should be listed in thi> schedule, In the boxes provided (Ill the allaehcd sheets. ,tate the name. mailing address, including zip code, and last Ilmr digits of the account
      number. ifany, of all entilies holding priority claims against the debtor or the propert:- ofthc debtor. as of the date orthe filing orthe petition. Use a scpnratc continuation
      sheet fiJr each type of priOrity and label each with the type of prlorit)',

         rhe complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and mal be provided irthe debtor chooses to do so.
      Ira minor child is a creditor. Slate the child', initials and Ihe name and address <lfthe child's parent Of guardian. such as ":\'IL a minor child, by John Doc. guardian" Do
      not disclose the child's name. See. II li.S.C. §112 and FcJ. R. Bankr P. I007(11l)

        If any entity olher than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column Inbeled '·Codcbtor." include the entit} on the appropriate
      schedule or creditors, and complete Schedule H-Codebtors. If a joint petitioll is filed, Slate whether the husband. wife, bOlh ofthcm. or the marital c(lmmunity may be liable
      on each claim by placillgan "H," "W." "J," or "C" in the C(1lumnlabcled "Husband. Wife. Joint. or Communi!) "lfthec\ail1l is eontingelH. place an "X" in the column labeled
      "Contingent." If the claim is unliquidated, place an "X" in the colulllnlabekd "Unhquidatcd." If the claim is disputed. place an "X" mlhe columulabded "Disputed." (You
      may need to place an "X" in more than one of these thre..: columns.)

        Report the total of claims liskd on each sheet in the box labeled "Subtotals" on ea.:h sheet. RepOrT the total of all claims listed on this Schedule E in the box labeled "Total"
      on the last sheet of the completed scheduh.:. RepOrT this total also on the SUlllmary ofSchcdulcs.

         Report the total of amounts entitled to priori!) listed on each sheet in the box labeled "Subtotal," on each sheet Repolt the tOlal of all amounts entitled to priority listed
      on this Schedule E in the "ox labeled "Totals" on the last slll-et of the completed schedule Indi\'idual debtors \\ ilh primarily consumer debts report this total also on the
      Statistical SUlllmary of Certain LIabilities and Related Data.

         Report the total of amounts rl(~t entitled to priorit) listed on each ,heet in the h()" labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to priority
      listed on this Schedule E in the box labeled "Totals" on the la,t sheet of the completed schedule Indi\ idual debtors with primarily consumer debts report thi, lotal abo 011
8     the Statistical Summary ofCc11ain Liabilitie, and Related Data.
~
~ ~Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
15
(/)


~ TYPES OF PRIORITY CLAIMS (Check the appropriale box(e;;) helO\\                            if claims   III   IhM eategot: arc listed ontite auached shee")
u.

           Domestic Support Obligations
           Claims for domestic Stlpport thut are owed to or recoverable       a spouse, former SPllUSC, or child of the debtor. or the parent, legal guardian, or
           responsible relative of such a child. or a governmentalullit to whom such a domestic support claim has been assigned to the extent provided in II
                    *
           U.S.C. 507(a)( I).
           Extensions of credit in an involuntary case
           Claims arising in the ordinary course ofthc debtor's bw;iness or financial alTairs alter the eommencement of the case but bdorc the earlier of the
                                                                                 s
           appointment ofa trustee or the order t()r relief: 1 I U.S.c. 507(a)(3).
           Wages, salaries, and commissions
           Wages. salaries, and commissions, inclllding vacation. severance, and sick leave pay (lIVing to employees and commis~ions l)\\ ing to qualifying
           independent sales representatives up to $ 11,725* per person earned within 180 days immediately preceding the filing ofthe original petition. or the
@          cessation ofbusim:ss. \\hiehever oceurred first. to the extent provided in II USc. ~ 507(0)(4).

      D    Contributions to employee benefit plans
           Money owed to employee henetit plans for sen ices rendered \\ithill 180 days immediately preceding the tiling of the original petition, or the
           cessation of business. whichever occurred lirs!, to the extent prmided in 11 U.S.c. § 507(a)(5).

      D    Certain farmers and fishermen
           Claims of certain fllrmers ,md tishermen. up to $5,775* per Illtmer or IishermUl!. llgainstth" debtor, as provided ill II USc.                          *507(a)(6).
           Deposits by individuals
           Claims of individuals up to $2.600* lor deposits for the purchase. lease, or rental of propert) or servkes fbI' personal, family. or household use. that
           were not delivered or provided. 1 I USc. 507(a)(7). s
           Taxes and Certain Other Debts Owed to GovernmentallJnits
           Taxes. cllstoms dUlies, and penalties owing to federal, ,tate, and local govcmmentaillnits as set t(n1h in 11 USc. § 507(a)(8).
      D    Commitments to Maintain the Capital of an Insured Dellository Institution
           Claims based on commitments to the FDIC. RTC. Director oflhe Ol1ice of Thrift Supervision, Comptroller oftht: Currency. or Board ofGO\emors
           ofthe Federal Reserve System, or thei r predecessors or successors. to maintain the copitaJ ofan insured depository institutioll. II USc. § 507 (a)(9).
      D    Claims for Death or Personal Injury While Debtor Was Intoxicated
           Claims for death or personal injury resulting from the operatiou of a motor vehicle or vessel while thc debtor "vas intoxicated from using alcohol.
           a drug. or another substance. II usc. § 507(a)( 10).                                                                                             ,

           * Amounts are subject to adjustment on 4/01113, and every three )cars therealicr \\ itlt respect to cases commenced on or aller the date of adjuslment.
             o continuation sheets attached
                 Case 11-19152                               Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27                                                Desc Main
    B6F (Official f'orm 61") (12/07)                                  Document     Page 22 of 55
    IN RE     VIt:()O_cj:E3()yl~j, .~i.l1dCl.B.~ Vlt:ood~Boyle. Douglas. R                                                                 Case No.
                                                                     Debtor(sl                                                                                                OfkllOWll}

                           SCHEDULEF - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name. mailing address. including zip code. and Inst tour digits of an~ account number, orall enlities holding unsecured claims without priority against the debtor
    or the property of the debtor. as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
    the creditor and may he provided if the debtor chooses to do so. If a minor child is a ..:rcditor. state the child's initials and the name and address of the child's parent or
    guardian, stich as "A.B., a minor child, oy John Doe, guardian." Do not disclose the child's name. Sec. II USc. § 112 and Fed. R. Bankr. P. 1007(m). Do not include claims
    listed in Scheduks D and 1'. If all creditors will not fit on Ihi, page. usc the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim. place an "X'- in the column labded "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schcduk H - Co(kbtors. Ifajoint petition jo< filed. slate whether the husband, wife_ both of them, or the marital community may he liable
    on each claim by placing an "H." "W," ".1," Of "C" ill the columnlahelcd '·Husband. Wife, Joim, or Community"

       If the claim is contingent. place an "X" in the column laheled ·'Contingent." If the claim is unliquidated, place an "X" in the column labded "Unliquidated." If the claim
    is disputed, place an "X" in the columnlahdcd "Disputed:' (You rna} need to place an "X" in more than one ofthcse three COllll1111S.)

      Report the total of all claims listed on this schedule in the hox labeled "Total" on the last sheet of the completed schedule Report this total also on the Summary or
    Schedules and. ifthc debtor is an individual with primarily conSllm~r Jebts. report this total also on the Statistical SUlllmary of Certain Liabilities anJ Related Data.

    D Check this box if debtor has no creditors holding unsecured nonpriority dnims to report on this Schedule F,
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     ACCOUNT NO. 3499906948238593                                                                 Credit Card Debt-Disputed. Unknow account                                          X
                                                                                                  number on credit report
     American Express
     PO Box 981537
     EIPaso,TX 79998

                                                                                                                                                                                                        0.00
     ACCOUNT NO.        3499913207946133                                                          Credit Card Debt-Unknown account number on                                         X
    'American Express                                                                             credit report
    •PO Box 981537
     EIPaso, TX 79998

                                                                                                                                                                                                 unknown
@
    i ACCOUNT NO. 34999906948238423                                                 J             Credit Card Debt-Unknown account number on                                         X
     American Express                                                                             credit report
     PO Box 981537
     EIPaso.TX 79998

                                                                                                                                                                                                 unknown
     ACCOUNT NO.        3499912988545893                                            J Credit Card Debt-Unknown account number on                                                     X
    I AmericanExpress                                                     !                       credit report
     PO Box 981537
     EIPaso,TX 79998

                                                                                                                                                                                                 unknown'
                                                                                                                                                                     Subtotal
           7 continuation sheets attacheJ                                                                                                                (Total of this page)                $
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         IN RE VV()()~:E!()yle,J.il1~a~B~8. VVooc:l:EJoylE!!l)ou~lasR                                                                       Case No.
                                                                               Debtor(s)                                                                                     (If known)

                                      SCHEDULE F - CREDITORS HOLDfN(; UNSECURED NON PRIORITY CLAIMS
                                                                                            (Continuation Sheet)


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         ACCOU:'>JT NO. 3715-753159-81003                                                  W Credit Card Purchases
         American Express
         PO Box 981537
         EIPaso, TX 79998

                                                                                                                                                                                              380.00
         ACCOUNT NO. 3715753159                                                       iH         Credit Card Purchase. Same account as 81003
         IAmerican Express
          PO Box 981537
          EIPaso, TX 79998
 >­
§
                                                                                                                                                                                                    0.00
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         ll..CCOUNT NO. 3723-979482-43001                                             !W         Credit Card
         American Express
         PO Box 981537
~        EIPaso, TX 79998
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00
                                                                                                                                                                                           9,000.00
~        ACCOUNT NO. 3723-979482-41013                                                     H Credit Card Account-Same acct as 43001
~  American Express
~ ,PO Box 981537
~ !EI Paso, TX 79998
w

~                                                                                                                                                                                                   0.00
§ IAccmlNT NO. 4388642065313448                                                                  Credit Card Debt
@
          Capital One
          PO Box 30281
         ISait Lake City, UT 84130

                                                                                                                                                                                           5,453.00
         iACCOliNT NO. 5178-0521-1704-5209                                                   •Credit Card Debt - Lawsuit Pending in Boston
         Capital One                                                                         •Municipal Court, Docket # 201101 SC002703
         PO Box 30281
         Salt Lake City, UT 84130

                                                                                                                                                                                              769.43
         ACCOUNT NO.                                                                             Assignee or other notification for:
         AllianceOne Receiveables Management Inc.                                                Capital One
         i4850 Street Road, Suite 300
         iTrevose. PA 19053

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         Sheet no.       .   ,.1 of             7 continuation sheets alta..:hed 10                                                                                 Subtotal
         Schedule oYCreditors'lj;:td:i/;g Unsecured Nonpriority Claims                                                                                  (TOial of this page)        $     15,602.43
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                                                            Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27                                    Desc Main
                                                                     Document     Page 24 of 55
      IN RE VVood-El()yle, Linda.EI. & W()od-Boyle, Douglas R                                                                  Case No.
                                                                    Debtor(s)                                                                              (If known)

                             SCHEDULE F - CREDITORS HOLDING UNSECURED NON PRIORITY CLAJMS
                                                     (Continuation Sheet)

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      ACCOUNT NO.                                                                 Assignee or other notification for:
      FirstSource Advantage, LLC                                                  Capital One
      205 Bryant Woods South
      Amherst, NY 14228



      ACCOUNT NO,                                                                 Assignee or other notification for:
      Gary H. Kreppel, Esq.                                                       Capital One
      33 Boston Post Road, Ste. 590
      Marlborough, MA 01752
c>­
o

      ACCOUNT NO. 5291-1516-3892-5535                                             Credit Card Debt
      Capital One
      PO Box 30281
      Salt Lake City, UT 84130

                                                                                                                                                                             859.00
      ACCOUNT NO.                                                                 Assignee or other notification for:
      Law Offices Of Howard Lee Schiff, PC                                        Capital One
      340 Main Street, Ste. 959
      Worcester, MA 01608



      ACCOli NT NO. 4388-6418-0302-9789                                         H Credit Card Debt
      Capital One
      PO Box 30281
      Salt Lake City, UT 84130

                                                                                                                                                                          6,834.00
      ACCOLJ NT NO. 438864206558                                                H Credit Card Debt
      Capital One
      PO Box 30281
      Salt Lake City, UT 84130

                                                                                                                                                                          5,231.00
      ACCOUNT NO. 5178-0521-4253-3690                                           H Credit Card Debt
      Capital One
      PO Box 30281
      Salt Lake City, UT 84130

                                                                                                                                                                             819.00
      Sheet no.       2 of       7 continuation sheets attached to                                                                                      Subtotal
      Schedule of CreditorsHoiding Unsecured Nonpriority Claims                                                                             (Total of this page)   $    13,743.00
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IN RE W()()(j~E3Qyl~tljnd<JB. & Wood -.soyle, Douglas,R                                                                               Case No.
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                       SCHEnULE F - CREDITORS HOLDING U~SECUREn NON PRIORITY CLAIMS
                                               (Continuation Sheet)

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ACCOUNT NO,        446561500023                                                         Credit Card Debt
Chase Bank USA
PO Box 15298
Wilmington, DE 19850

                                                                                                                                                                                    2,213.00
ACCOUNT 1\:0.      455954150050                                              J Credit Card Debt
Chase Bank USA
PO Box 15298
Wilmington, DE 19850

                                                                                                                                                                                    2,244.00
ACCOUNT NO.                                                                             Assignee or other notification for:
Credit Control, LLC                                                                     Chase Bank USA
5757 Pahntom Orive, Ste. 330
Hazelwood, MO 63042



ACCOLINT NO,       521                                                                  Credit Card Debt
Chase Bank USA NA
Po Box 15298
Wilmington, DE 19850

                                                                                                                                                                                    7,639.00
ACCOUNT NO,                                                                             Assignee or other notification for:
Equable Ascent Financial                                                                Chase Bank USA NA
1120 W. Lake Cook Rd. Ste. A
Buffalo Grove, IL 60089



ACCOUNT NO,        5542-8523-0072-5692                                                  Credit Card Debt
Chase Bank USA, NA
PO Box 15298
Wilmington, DE 19850

                                                                                                                                                                                   4,313.69
ACCOUKTNO.                                                                              'Assignee or other notification for:
Equable Ascent Financial                                                                 Chase Bank USA, NA
1120 W. Lake Cook Rd. Ste. A
Buffalo Grove, IL 60089


Sheet no, ,     3 of        , 7 continuation sheets attached to                                                                                                 Subtotal
Schedule (lH;r~djtors 'fl~ld;;;g llnsecured ;~onpriorit) Claims                                                                                     (Total of this page)   $      16,409.69    1




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                                                                                 Document     Page 26 of 55
       IN RE     V\I()()cI~Boyl~,LinclliB:~V\lo()cI~l3()yle,[)ouglas.R                                                                Case No.
                                                       Debtor(s)                                                                                                     (If known)

                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORJTY CLAIMS
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       ACCOUNT NO.                                                                          Assignee or other notification for:
                                                                                            Chase Bank USA, NA
       NARS Call Center Solutions
       PO Box 701
       Chesterfield, MO 63006



       ACCOUNT NO.                                                                    H Credit Card Debt
       Citibank
       PO Box 769006
       San Antonio, TX 78245

                                                                                                                                                                                      464.60
       ACCOl.lNTNO.                                                                         Assignee or other notification for:
       CBE Group                                                                            Citibank
       1309 Technology Pkwy
       Cedar Falls, IA 50613



       ACCOUNT NO. 50187                                                              H Credit Card Debt
       Citibank/Citgo
       PO Box 6497
       Sioux Falls, SD 57117

o'i'                                                                                                                                                                               2,654.00
'"
(J)
(J)    ACCOUNT NO. 601129868080                                                             Credit Card Debt
@
       Discover Financial
       PO Box 6103
       Carol Stream, IL 60197

                                                                                                                                                                                  11,446.00
       ACCOUNT NO.                                                                          Assignee or other notification for:
       Richard J. Boudreau & Assoc. LLC                                                     Discover Financial
       Attn: Charlene M. Sandlin
       5 Industrial Way
       Salem, NH 03079


       ACCOUNT NO. 603532024955                                                             Credit Card Debt
       Home DepoUCitibank
       PO Box 697
       Sioux Falls, SD 57117

                                                                                                                                                                                   8,631.00
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      IN RE      vv.~~~d~~ojlle, Linda B'_~VV()()d -Boyle,Oouglas                  R.                                      Case No.
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                              SCHEDULE F - CREDITORS HOLDING UNSECURED NON PRIORITY CLAIMS
                                                      (Continuation Sheet)

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                              f'\;ee In:"fl'flt"tltNi, ,lbOh:. .1                                  ,uure r TO SETOFF SO STATE                                        CLAIM




      ACCOUNT NO, 6035320189121880                                            H Credit Card Debt
      Home Depot/Citibank
      PO Box 697
      Sioux Falls, SO 57117

                                                                                                                                                                      8,732.00
      ACCOUNT NO,                                                                 Assignee or other notification for:
                                                                                  Home Depot/Citibank
      Lustig, Glaser & Wilson
      PO Box 9127
      Needham, MA 02492



      ACCOUNT NO. 5120·2750"()023-5202                                            Credit Card Debt
      HSBC Bank
      PO Box 5253
~     Carol Stream, IL 60197


!
"?    ACCOUNT NO,                                                                 Assignee or other notification for:
                                                                                  HSBC Bank
                                                                                                                                                                      2,847.00


      Calvary Portfolio Service
~     PO Box 27288
w::   Tempe, AZ. 85285
~


      ACCOUNT NO, 6627550                                                     J   Past Due Account Balance with Timeshare located
      InnSeason Vacation Club                                                     in Falmouth, MA
      Attn: Back-Deed Department
      72-B Hazel Mill Road
      Asheville, NC 28806
                                                                                                                                                                      1,723.60
      ACCOliNT NO,                                                                Assignee or other notification for:
      Continental Central Credit Of MA Inc.                                       InnSeason Vacation Club
      5611 Palmer Way, Ste. G
      Carlsbad, CA 92010



      ACCOUNT NO, 5049902035453892                                            J Credit Card Debt
      Pay-Pal/Bill Me Later
      PO Box 2394
      Omaha, NE 68103

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      Sheet no, . , ,. .5 of ........,,., 7 continuation sheets attached LO                                                                        Subtotal
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       IN RE     \Nood:EJQyl~,          LiI1.<tCi.EJ. & Woo<t-Boyle, OouglasR                                                             Case No.
                                                                         Debtor(s)                                                                                     (I f kll(m n)

                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                     (Continuation Sheet)
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                     CREDITOR', )'AME. MAllING\[)[)R[SS
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       ACCOUNT NO.        9833251890100082005                                                 Student Loan Obligation
       Sallie Mae
       11100 USA Pkwy
       Fishers, IN 46037

                                                                                                                                                                                        9,470.00
       ACCOUNT NO,        73480                                                      H Credit Card Debt
       Sheli/Citibank S.D.                                                                                                                                                                          I
       PO Box 6497
       Sioux Falls, SO 57117

                                                                                                                                                                                        2,930.00
       ACCOUNT NO.                                                                            Assignee or other notification for:
       CBE Group                                                                              Sheli/Citibank S.D.
       1309 Technology Pkwy
       Cedar Falls, IA 50613



       ACCOUNT NO.        96644361·358809                                                     Medical Bill
       Winchester Hospital
       PO Box 415581
       Boston, MA 02241

a
N                                                                                                                                                                                           42.47
'81"   ACCOUNT NO.                                                                            Assignee or other notification for:
@
        EOSCCA                                                                                Winchester Hospital
       .700 Longwater Drive
        Norwell, MA 02061



       ACCOUNT NO.        7337720                                                    H Medical Bill
         Winchester Hospital
       i PO Box 415581

       •Boston, MA 02241

                                                                                                                                                                                           142.06
       ACCOUNT NO.                                                                            Assignee or other notification for:
       EOSCCA                                                                                 Winchester Hospital
       700 Longwater Drive
       Norwell, MA 02061

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      IN RE     WQocl:I:!Qyl~~, Li!lcl"!E3:..& .WoQ.d:E3oyle,pouglas R ..                                                         Case No ..
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                             SCHEDULE F - CREDITORS HOLDING UNSECURED NON PRIORITY CLAIMS
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          ACCOUNT NO. 7353964                                                      H Medical Bill
          Winchester Hospital
          PO Box 415581
          Boston, MA 02241
                                                                           I
                                                                                                                                                                             169.96
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          EOS CCA                                                                     Winchester Hospital
          700 Longwater Drive
          Norwell, MA 02061
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      IACCOUNT NO. 000100302896                                                    H Medical Bill
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IN RE W()()cI:Boyl~LLill~daB. &Wood:Boyle, Douglas. R.                                                                    Case No.
                                                            Dcbtor(s)                                                                                  (lfknowll)

                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Describe all executory contmcts of any nature and all unexpIred Ica~es ofre~1 or personal properly. Include any timeshare interests. State nature of debtor', interest in
contract. i.e., "Purehascr.'· "'Agent." etc. State whether debtor is the·le"or (Ir k,sce of a kasc. Provide the nmncs and complete mailing. addresses of all other parties to each
lea"e or contract described. If a minor child is a party to one of the leases or contracts. state the child's initials and the name and address of the child's parcnt or guardian.
sud as "AB.. a minor child, by John Doc. g.uardian." Do not disclose the cluld', name. See, II li.S.C. § I 12 and Fed. R. Bankr. P. IO071m)

D Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                DFSCRTPTJON OF CONTRM:r OR LL\SE AND \i·\T\:RE OF DEBTOR'S INTEREST
                   :-1A"IE AND ,JAILING ADDRL,S, INCU;DIVi ZIP com,
                                                                                                    ST.\ TI: WI lETHE· R L1' ASE IS FOR M)NRESIDENTL\L REAL PROPERTY
                        OF OTHER PARTIES 10 IJ',,\SE OR COT'>fRACT
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Chase Auto Finance                                                                       '2009 Subaru Outback Lease
PO Box 901076
Fort Worth, TX 76101
            Case 11-19152
86H (Officiall·'orm 611) (12107)
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                                                                Document     Page 31 of 55
IN RE      \III()()~d~Boyle,LindaE3~& \III()()d ~Boyle,. DouglasR                                                            Case No.
                                                     Dcbtor(s I                                                                                            (lfkllown)

                                                                     SCHEDULE H - CO])EBTORS
   Provide the ini(lrmation requested concerning all) person or emit). other than a spoll,e in a joint casco that i5 al,o liable on any debts listed by the debtor in the schedules
or creditors, Include all guarantors and co-signer" If the debtor resides or resided in a commnllit~ property state. cOlllmolmealth. or territory (including Alaska. Arizona,
Calilbmia. Idaho. Louisiana. Nevada, New Mexico, Puerto Rico, T.:xas. Washington. or Wisconsin I within the eight-year period immediately preceding the commencement
of the casco identiJ:v the name ofthe debtor's spouse and orany fimllcr spouse who rc!>idcs or n:sided with the debtor in the community property state. commUlmealth. or
territory. Include all names used by the nondehtor spouse during the eight years immediately pre.:eding the COIlUllcncemcnt of this case, If a minor child is a codebtor or
a cn:ditor. Slate the child's initials and the !lame and address of the child's parent or guardian. such as ",\. B.. a minor child. by John Doe. guardian," Do not disclose rhe child's
name, Sec, II U,S.C. § 112 and Fed, R. Bankr. P 1007(m).

    Check this box if debtor has no codebtors,

                            ,,·\\11' \ '\D .\[)DRE'S OF (ODEll roR


Douglas Wood-Boyle                                                                          Chase Auto Finance
61 Victory Road, Unit 3                                                                     PO Box 901076
Dorchester, MA 02122                                                                        Fort Worth, TX 76101
                  Case 11-19152                 Doc 1         Filed 09/28/11 Entered 09/28/11 08:39:27                                               Desc Main
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      IN RE     vy()oc:l~~B()yle-,ljncla .Et. ~VV()od:B()yle,[)ouglasR                                                     Case No.
                                                          Debtor(s)                                                                                                            (Ifkno\yll)

                                       SCHEIlULE I - CURRENT INCOME OF INIlIVIDUAL DE8TOR(S)
      The colutnnlabeled "Spouse" l11uq be completed in all ~ascs Illed by joint debtors and by evcr~ manicd debtor. whcther or not ajoint petition is filed. unlt:ss the spouses
      are separated and a joint petition is not fikd. Do not state the name of an' minor child. The average monthly income calculated on this form may differ from the current
      monthly income calel/lnted on From 22A. 22B. or 22('
      I Debtor's Marital SMus                                                             DEPENDE'-lTS OF J)FBTOR AND SPOUSF
       Married                                     RFI.ATlONSHIP(S):                                                                                                            AGE(S):




       EMPLOYMLNT:                                             DEBTOR                                                                       SPOlSE
       Occupation               Executive Director
       Name of Employer         HomeStart, Inc.
       [low long employed       11 years
       Address of Employer
                                Boston, MA 02111

      INCOME: (Estimate of average or projected monthly income at time case filed)                                                              DEBTOR                                                   SPOUSE
>.    1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                    ~,2§!l,~01l                 $
8     2. Estimated monthly overtime                                                                                            $                                                $
:>:
'" 3. SUBTOTAL                                                                                                                Is                    8t~§(),9Q                   $ -,,-                              .9,991
~
                                                                                                                                                                                         -~.




    4. LESS PAYROLL DEDUCTIONS
§ a. Payroll taxes and Social Security                                                                                         $                   .1J~§4,71         $
<l:
      b. Insurance                                                                                                             $                          1.6.1...94 $
      c. Union dues                                                                                                            $                                     $
      d. Other (specify) Se~§~hedl:lle~!!a(;l1flcj                                                                             $                          179.62 $
                                                                                                                               $                         ...         $
                                                                                                                                                                     '"
                                                                                                                                                                                    '"   ,,~,,~,_   c_   _r' ,,_' Ch"   ~   "_% __ _ h h




      5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                    2,29~~,27                   $                        .              JI,QQ
~
,§' 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                         $                    5!~§3·n                     $                                           C).OQ
~
   7. Regular income from operation of business or profession or tlmn (attach detailed statement)                              $                                                $
oZ 8. Income from real property                                                                                                $                                                $
8l 9. Interest and dividends                                                                                                   $                                                $
©
   10. Alimony, maintenance or support payments payable to the debtor f(JI' the debtor's use or
   that of dependents listed above                                                                                             $                                                $
   11. Social Security or other government assistance
     (Specify) SSt                                                                                                             $                                     _N    r
                                                                                                                                                                                $                            .. ~~~§.OQ
                                                                                                                               $                                                s
      12. Pension or retirement income                                                                                         $                                                $
      13. Other monthly income
        (Speciry)                                                                                                              $                                                $
                                                                                                                               $                                                $
                                                                                                                               $                                                $

      J4. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $ ..           ~~
                                                                                                                                                    $ ..~.... , .~~~~~.5&Q
                                                                                                                                                   ...    ~   ~""'   ...

      J5. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and (4)                                                         $           .pj~§~,n $           ~~~JI25.00


      ~6. CO~BINED AVERAGE MONTHLY INCOME: (Combine column totals irom line 15;                                               I
      If there IS only one debtor repeat total reported on line 15)             .                                                                  $                       ,~ IiJ8Tf!,!~
                                                                                                                               ! Rt:pllrt al'iu on Summary (If '}ch.:dnJ('5 and. if app!J.:abh.!,                           (111
                                                                                                                               ;;;1.31tstical Summar: ofCenalllIAaDIlilie5 and RC'lat\!tl                          Datil)


      17. Describe any increase or decrease in income reasonably antidpated to occur within the year following the filing of this document:
      None
        Case 11-19152           Doc 1Filed 09/28/11 Entered 09/28/11 08:39:27    Desc Main
                                       Document     Page 33 of 55
IN RE WQQQ:~Qyl~JL,indtlB~~8.Wo()Q:BoylelIJQugla$ R                   Case No.
                                        Debtor(s)

                            SCHEDULE I - CURRENT INCOM:E OF INDIVIDUAL DEBTOR(S)
                                             Continuation Sheet - Page 1 of 1

                                                                                 DEBTOR      SPOUSE
Other PayToll Deductions:
FlexSpd.                                                                           79.99
Parking                                                                            68.25
Flex.Spd.                                                                          20.00
Oarjubg                                                                            11.38
                  Case 11-19152
      86.J (Officiall;orm 6.1) (12/07)
                                                  Doc 1         Filed 09/28/11 Entered 09/28/11 08:39:27                                         Desc Main
                                                                 Document     Page 34 of 55
      IN RE     W()()(j~BoYL~LLincjllB~8.W()()cjN:B()yleL[)ouglas                 R                                           Case No.
                                                                  Debtor("                                                                                 (Ifknown)

                                 SCHEDULE J - CURRENT EXPENDITURES Ol<~ lNDIVIDUAL DEBTOR(S)
      Complete this schedule by estimating the average or pr(liected monthl, expense, of the debtor and the dchLor's f.·llnily at time case filed. Prorate any payments made bhveeklj,
      quarterly, semi-annually. or annually to show monthly rate. The avcmge monthly c'.penses cakulated on thiS form ma~ difter fmlll the deductions from income allo\\ed
      on Form22A or 22C
      D Check this   box if a joint petition is tiled and debtor's spouse maintains a separate household. Complete a separate schedule of
      expenditures labeled "Spouse."

    l. Rent or home mortgage payment (include lot rented for mobile home)                                                                                    $        ... JJ1!£6,QQ
        a. Are real estate taxes included? Yes.-/ No
        b. Is property insurance included? Yes       No-/
    2. Utilities:
        a. Electricity and heating fuel                                                                                                                      $
        b. Water and sewer                                                                                                                                   $
        c. Telephone                                                                                                                                         $              185.()O
        d. Other C:::l1l?l~lll}terrl~~!,homL                                                                                                                 $             ~11!(),O~Q
                   C:gndorrlinilJ!rt.r=ees                                                                                                                   $            ..?"7~&O
    3. Home maintenance (repairs and upkeep)                                                                                                                 $         . . 15Q,QO
    4. Food                                                                                                                                                  $              L!i()~,QO
    5. Clothing                                                                                                                                              $             .~c)c),QO
    6. Laundry and dry cleaning                                                                                                                              $            ~~~15Q.o.Q
 >. 7. Medical and dental expenses                                                                                                                           $        . . AOQ.()()
8 8. Transportation (not including car payments)                                                                                                             $              ~50.0()
 ~ 9. Recreation, clubs and entertainment, newspapers, magazines. etc.                                                                                       $            .fQ9·Q()
~ 10. Charitable contributions                                                                                                                               $           .~t~(),OO
'"~ II. Insurance (not deducted from wages or included in home mortgage payments)
"-      a. Homeowner's or renter's                                                                                                                           $
        b. Life                                                                                                                                              $              .1~8.pO
        c. Health                                                                                                                                            $
        d. Auto                                                                                                                                              $              EEl. go
        e. Other                                                                                                                                             $
                                                                                                                                                             $
~
§' 12. Taxes (not deducted from wages or included in home mortgage payments)
~      (Speciry) R~~L~~~~~~rrI~_~,~,~r~r"§t~~~~~9ry,~P~,q",l)~it,~                                                                                           $              tt(),90
L;J1:~~c;j!>~ \I~htc;1~I a)( ~~.. ~.                                                                                                                         $             ..~§,91)
~     13. installment payments: (in chapter II. 12 and 13 cases. do not list payments to be included in the plan)
ffi        a. Auto                                                                                                                                           $              383,()Q
@          b. Other                                                                                                                                          $
                                                                                                                                                             $
      14. Alimony, maintenance, and support paid to others                                                                                                   $
      15. Payments for support of additional dependents not living at your home                                                                              $
      16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $
      17. Other ~~~~ctl~d!ll~ Attacheej                                                                                                                      $
                                                                                                                                                             $
                                                                                                                                                             $

      18. AVERAGE MONTHLY EXPENSES (Total lines I 17. Report also 011 Summary of Schedules and, if
      applicable. on the Statistical Summary of Cel1ain Liabilities and Related Data.

      19. Describe any increase or decrease in expenditures anticipated to occur \vilhin the year following the filing of this document:
      None




      20. STATEMENT OF MONTHLY NET INCOME
          a. Average monthly income from Line 15 of Schedule I                                                                                               $            6j~.z.I!~I~
          b. Average monthly expenses from Line 18 above                                                                                                     $            El!?~3.,!i()
          c. Monthly net income (a. minus b.)                                                                                                                $            .. 15~.23
         Case 11-19152           Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27            Desc Main
                                             Document     Page 35 of 55
IN RE VVoo(j:E3,?yle}Lindal3:. &VV(),?(j~E3()yl(!,Douglas. R                         Case No.
                                             Debtor(s)

                    SCHEDULE .J - CURRENT EXJlENDJTURES OF INDIVIDUAL DEBTOR(S)
                                                  Continuation Sheet - Page 1 of 1

Other Expenses (DEBTOR)
Auto Repairs/Maintenance                                                                                    100.00
Sundries/General Health Supplies                                                                            100.00
Personal Care                                                                                                50.00
Cigarettes                                                                                                  220.00
"The Ride"                                                                                                   30.00
                   Case 11-19152                     Doc 1
      B6 Declaration ~Omcial Form 6 - Heelaration) (12/07)
                                                                  Filed 09/28/11 Entered 09/28/11 08:39:27                                          Desc Main
                                                                   Document     Page 36 of 55
      IN RE      VII()od~~!'yJE:!,Lin(jaB~        &.Wood -Boyle,DouglasR                                                     Case No.
                                                                   Debtor!,)                                                                                       (Ifknown)

                                                 DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                          DECLARATION UNDER PENALTY OF PERJURY BY INDfVIDUAL DEBTOR

      I declare under penalty ofperjUl)' that 1 have read the foregoing summary and schedules. consisting of                                          ~4    sheets, and that they are
      true and correct to the best of my knowledge. information. and bt'lief.


                                                             Signa,u,eJsI!,i"<!.B,Wood.Boyle
                                                                          Linda B. Wood-Boyle
                                                                                                              ~ ~,~,/
                                                                                                                  ~r
                                                                                                                      /'
                                                                                                                                                                                     .
                                                                                                               '..J ~~
                                                             Signature: /s/ Douglas R Woo(i -Boyle
                                                                        Douglas R Wood -Boyle                   r                     ..
                                                                                                                                   [If JOll1t case, both spouses must sign.]
                                                                                                                                                                                 (JOint Debtor. rt Hm 1




                    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRL:prCY PETITION PREPARER (Sec IIU.s.C. § 110)

      J declare under penalty of peljury thai: (I) J am a bankruptcy pctition preparer a, delll1cd in II U.S.c. ~ 110: (2) I prepared this document for
      compensation and have provided the debtor with a copy of this document and thc notices and information required under J I USC ~9 JIO(b). II O(h).
      and 342 (b): and. (3) if rules or guidelines have been promulgated pursuant tn 11 USc. § 11 O(h) setting a maximum lee for services chargeable b)
      bankruptcy petition preparers. 1 haw given the debtof noticc ofthe maximum alllount before preparing any documcnt for filing for a debtor or accepting
      any iee from the debtor. as required by that section.
>­
c
o
i£
'"    Prinled or Typed Name amI Tilh:. If any. of Bankruptcy Pelltion    [)r~par"r                                          SOCial SeclJril) 1'-:(\, (ReqUired by I J U S.c. § 110)
~ If the bankruptcy petition preparer is not an individual. stille Ihe name. title
(/l                                                                                               (i(all}';. address. and   social security number q(the oljiccr. principal,
E responsihle pt!rsol'I, or portner l~'ho signs the docunlenL
&
"~
<;j
      Addr~ss
~o
o
"I


t     S ignlltllre of Bankruptcy Petilion Preparer                                                                          Date

~     Names and Social Security numbers ofall other individuals who prepared or assislcd in preparing this document. unkss the bankruptcy petition preparer
o     is not an individual:
'"
f')
en
en

      {f more thall   0111'   person prepared Ihis doclltnell1, (/([ac/z addi! fonal s('i!,l1cd slieers conforming 10 I he opproJ7riate (){ficial Form liJl" each person.

      A hankru{ltty petition (lre(lorer'sfailure to COI1lP~V \vith 117", (ll'Oi'ision          ! J alld the Vcderal Rilles o(BonArliptcy Procedure may resull in/incs or
      impriSOl1memorholh             II esc.$ IIO: J81..;.S.C ,$156,


                      DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

      I, the                                                                         (the president or other officer or an authorized agent of the corporation or a
      member or an authorized agent of the partnership) of the
      (corporation or partnership) named as debtor in this case. declare under penalty of perjury that J have read the foregoing summary and
      schedules. consisting of          sheets (to/al shown on stilI/malT page plus 1). and that they are true and correct to the best of my
      knowledge. information. and belief.



      Date:                                                  Signature:


                                                                                                                                     {print or t~ pe name orindiv}dil<ll .)l,1flllng Dr<. behalf or debwrJ


                    [An individual signinR on behallofu partnership or cOIporafiol1 must indicate position or relationship to debtor.}
               Penaltyjor making a/alse statement VI' concealing properTy: Fine of'up to $,00.000 or imprisonmenl Jor up 10 5 years or both. 18 USc. §* [52 and 3571.
                   Case 11-19152               Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                                Desc Main
      87   (Official form 7) (04/10)
                                                             Document     Page 37 of 55
                                                                United States Bankruptcy Court
                                                                   District of Massachusetts

      IN RE:                                                                                                       Case No.

      'I[~Qg:l3.()yl~lJ::iJ!Q~J::l.lI.Wo()tl~BoYl~,J~Ql!g!CI!> R                                                   Chapter .13.
                                                        D.:btor(,)

                                                         STATEMENT OF FINANCIAL AFFAJRS
         This statement is to he completed hy every dehtor. Spouses liIing ajoint petition ma: Hk a             statement on whkh the information for hoth spouses
      is eomhined. If the ease is tiled under chapter 12 or chapter 13. a man-ied debtor must turnish information for both spouses whether or not a joint petition
      is filed. unless the spouses arc sepamted and ajoint petition is 110t tiled. An individual debtor engaged in husiness as a sale proprietor. partner. family
      former, or self-employed prothsional. should provide the information requested on this statement concerning all such activities as well us the individual's
      personal afrairs. To indicate payments, transfers and the I ike to mi nor child reno slute the child's in ilials and the name and address of the child's parent
                                                                                                                              *
      or guardian, such as "A.B.. a minor child. by John Doe. gllurdian."·Dll not disclose tht: child's name. See, 11 U.S.c. 112 and Fed. R. Bank!'. P. 1007(m).

        Questions I 18 arc to be completed by all debtors. Debtors that ure or hove been in business. as defIned hclo\\. [llso must complde Questions 19 ­
      25. If the answer to an applicable question is "None," mark the box labeled "None." Ifadditional space is needed for the answer to any questiol1.
      usc and attach a separate sheet properly identitlcd with the cuse 110me. case number (if known). and the number of the question.

                                                                              DD·IXI1'1()\S

     "In business." A debtor is "in business" for the purpose oCthis form if the debtor is a corporation Of partnership. An individual dehtor is "in business"
   tor the purpose ofth!s iorm ifthc: debtor is or has been. \\ithin six years immediately preceding the Hling (lfthis bunkruptcy case, an) of the follO\ving:
'" an olTker. director. managing executive. or owner 01'5 percent or more ofthe voting or cquity securities ofu corporation: a partner. other than a limited
§ partnt:r, of a partnership: a sole proprietor or self·employed lhll-time or part-time. An individl\al debtor alstllllay be "in business" for the purpose of this
~ Ibrm ifthe dehtor engages in tl trade. business, or other activity. other tlwn as an employee. to supplement income fi'ol11 the debtor's primary employment.

~
(/)
           "Insider." The term "insider" includes hut is not limited to: relatives of the debtor; general partncrs oflhe dentor and their relatives: corporations of
§ which the dehtor is an of1ker. director. or person in control: ofticers, directors. und <lny owner of 5 percent or more of the \'oting or equity securities of
&.
      a corporate debtor and their relatives: aniliates of the debtor and insiders ofslIch aftiliates; any managing ugent of the dehtor. II U.S.C.     *I() I.
"~
N


",




~     1. Income from employment 01' operation of business
               State the gross amount of income the debtor ha~ receiwd li'\ltn employment, trade. or profcssion, or Ihllll operation of the den to)", nusiness.
               including part-time activities either us un employee or in independem tmde 01' business. from the beginning of this calendar year to the date this
               case \-la, commenced. State also the gross amounts rcceiyed during the two years immediately preceding this calendar year. (A debtor that
               main([Jins. or ha'> maintained, limmeial records on the hasis of a 1iscal rather than a calend[)r year Illay report fiscal year income. Identify the
               beginning and cnding dates ofthe debtor's fiscal year.) Tfujoint petition is liIed, state incomc 101' each spouse separately. (\1urried debtors tiling
               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is Ii led. unless the spouses are sepamted and a
               joint petition is not 1ilcd.)
                    AMOUNT SOURCE
                   60,923.04
                           2011 Year to Date - Homestart Inc.
                    7,400.00     2011 Year to Date - Social Security Retirement
                  106,686.35     2010 Joint Income Tax Return
                  113,150.00     2009 Joint Income Tax Return
      2. Income other than from employment or operation of business
       None
               State Ihe amount of income received by the dent or olher than lI'om employment tmdt:. profession. operation ofthe dehtor's hu~iness Juring the
               two years immediately preceding the commencement of this case. Give particulars. ff a joint petition is tiled, stu Ie income tor t:ach spouse
               separately. (Married debtors tiling under chapter 12 or chupter 13 must state income for each spouse whether or not ajoint petition is filed, unless
               the spouses arc separated and ajoint petition is not tiled.)

      3. Payments to creditors
      Complete a. or h.. as appropriate, and c.
       None
               a. Individual or Joint debtor(~~l 'with primarilv consumer debts.' List all payments on 10UllS. installment purchases of goods or services. and other
               debts to any creditor made within 90 days immediately preceding the commencement ortlli;; case unless the aggregate vulue of all property thut
               constitutes or is alrected by such transf\;r is less than $600. Indicate with un asterbk (*) any payments thut were made to a creditor on account or
               a domestic support ohligation or as pm1 of an alternative repayment schedule 1l11der a plan by an npproved nonpro1it budgedng and credit
               counseling agency. (Married dehtors tiling under cil[)pter 12 or chapter 13 must include payments by either or both spouses whether or not ajoint
               petition is fIled, unless the spouse~ Dre sepumted und ajoint petition is n<lt filed.)
                      Case 11-19152               Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                                Desc Main
                                                                Document     Page 38 of 55
         None     b. Debtor whose debts are not primari(v cOllswner deh!s: List each payment or lllher tr,mstCr to an~ creditor made \\ ithin 90 days immediately
                  preceding the commencement of the case lInless the aggrcgate yuille of all propeJ1y that constitutes or is atfected by such transJer is less than
                  $5,850. * lfthe debtor is an indi\ iduuL indicate with an asterisk (*) any payments Ihat were made to a creditor on account of u domestic suppOli
                  obligation or as part ofan alternatiye repaymcnt schedule under a plan by an appn)\ed nonprotit budgeting and crcdit counseling agency. (Married
                  debtors filing under chapter 12 or chapter 13 must include payment> and other transfers by either or both spouses \\hether or not ajoint petition
                  is filed, unless the spouses are separated and aJoint petition is not tiled.)

                  * ,/mount suhject to adjustment on 4 Of, J3. alld ('very fhree vem-s tliereafier lrith respecllO C(lS('S commcnced on or after the date o/adjustmenl.
         None     c. AI! debtors: List all payments made within one year immediately prcceding the commcncement of this case to or for the benefit of creditors
                  who are or were insiders. (Married debtors tiling under chapter 12 llr chapter 13 must include payments by either or both spouses whether or not
                  a joint petition is tiled. unless the spollses arc separated and a joint pctition is not tiled.)

        4. Suits and administrative proceedings, executions, garnishments and attachments
         None     a. List all suits and administrati\(? proceedings to \\hich the debtor is or \\as a part) within one year immediately preceding the tiling ofthis
         D        bankruptcy case. (Married debtors tiling under chapter 12 or chaptcr 13 must include information conccrning either llr both spouses \\hether or
                  not ajoint petition is filed, unless the spouses are separated and ajoint petition is not tiled.)
        CAPrJON OF SUIT                                                                        COURT OR AGENCY                           STATUS OR
        AND CASE NIHvTBER                            NATURE OF PROCEEDING                      A.ND LOCAflON                             DISPOSITION
        Discover Bank v. Linda Wood­                 Action for Damages                        Commonwealth of                           Default Judgment in
        Boyle, Civil Action No. 2011­                                                          Massachusetts                             favor of Plaintiff entered
        07CV0483                                                                               Dorchester District, Municipal            8/19111
                                                                                               Court
                                                                                               Dorchester, MA 02122
>.
8       Captial One Bank USA, NA v.                  Action for Money Damages                  Boston Municipal Court, Central Pending; Court Date
~       Wood-Boyle, Docket #                                                                   Division                        Scheduled for 10/14/11
~       201101SC002703                                                                                                         at2PM
'"       None.    b. Dcscrihe all propeny that has been attached. garnished or seized under any legal or equ itable process within one year immcdiately prceeding
                  thc commcncement of this casc. (Married debtors tiling under chapter 12 or chapter 13 must include information concerning propeliy of either
:;;:'
..,.
N                 or both spouses whether or not ajoint petition is tilcd. unless the spouses are sepamted and ajllint petition is not tiled.)
'i'
OJ
<J)

6       5. Repossessions. foreclosures and returns
a
"?       NOlle    List all property that has been reposscssed by a crcditor. sold at a foreclosure sale. transferred through a deed in licu of foreclosure or retumed to
E"                the seller, within one year immediately preceding the commencement of th is case. (fYIarried debtors ming under chapter 12 or chapter 13 must
 oi               includc information concerning properly of either or hoth spouses whether or not a joint petition is tiled. unless the spouses are sepamted and a
,§
c::               joint petition is not tiled.)
N
w

~       6. Assignments and receiverships
'"
<J)
<J)
                  a. Describe an) assignment llC property Cor the bcndit of creditors made \Iith in 120 days immediately preceding the commencement ofthis case.
@
                  (Married debtors tiling under chapter 12 or chapter 13 must includc an~ assignmem by either or both spouses whether or not ajoint petit ion is Iiled,
                  unless the spouses are separated and joint pelition is not tiled.)

         None
                  b. List all property which has been in the hands of a custodian, recciver. or couli-appointed official within one year immediatcly preccding the
                  commencement oCthis ease. (Married debtors tiling under chapter 12 or chapter 13 must include information eoncerning property ofcither or both
                  spouses whether or not ajoinl pctition is tiled, unless the spouses are separated and ajoint petiIion is not tilcd.)

        7. Gifts
         None
                  List all gifts or eharitable eontributions made within one year im11lediately preceding the commencement of this case exeept ordimlry and usual
                  gilTs to family mcmbers aggregating less than $200 in value per imliyidual fmnily member and charitable contributions aggregating less than $100
                  per recipient. (Married deblors tiling under chapter 12 or chapter 13 must include gilts or contributions by either or both spouscs whcther or not
                  ajoint petition is filed. unlcss the spouses arc sepamted and "Joint petition is not filed.)

        8. Losses
         ~on(:'
                  List alliosscs from tire, then. other casualty or gamhling \\ithin one year immcdiately preceding the commencement of this case or since the
                  commencement of this case. (Married dcbtors tiling under chapler 12 or chaptcr 13 must include losses by either or both spouses whcther or not
                  ajoint petition is tiled, unless the spouses are scparated and ajoint petition is not tiled.)
                     Case 11-19152                Doc 1         Filed 09/28/11 Entered 09/28/11 08:39:27                                   Desc Main
                                                                 Document     Page 39 of 55
       9. Payments related to debt counseling or bankruptcy
        None     List all paymcnts made or property transferred by or 011 behalf of the debtor to uny persons. including attorneys. for consultation concerning debt
                 consolidatioll. rclief undcr bankruptcy law or prcparation of u petition in bankruptc) within one year immediately prccediilg thc commenccment
                 of this ca~e.
                                                                            DATE OF PA Y\IE~T. \iA\:lE OF                   AMOUNT OF MONEY OR DESCRIPTION
       NAME AND ADDRESS OF PAYEE                                            PAYOR IF 0 filER "II IAN DEBTOR                         AND VALliE OF PROPERTY
       Jeffrey M. Frankel                                                                                                                                          3,500.00
       40 Willard Street, Suite 101
       Quincy, MA 02169

       10. Other transfers
        None     a. List all othcr propC11y. other than prope11y transferrcd in the ordinary C(lurse ofthe business or financial uflilirs of the dcbtor. transf't.:rrcd cither
                 absolutely or us sceurity within two years immediately preccding thc COlllllIcnccment o1"this case. (Married debtors tiling under chapter 12 or
                 chapter 13 must includc transfers by either or both spouses whcther or not;] joint petition is tiled. unless the spouses arc separated and a joint
                 pctition is llot tiled.)


           b. List all property translerred by the dcbtor within ten years immediately preceding the commencement ofthis ease to a self-scttled trust or similar
        'lone
        [~ dcvice of which thc debtor is a beneficial).

       II. Closed financial accounts
        None     List all financial accounts and instruments held in the name oftl1e dcbtor or for the benetit of the dcbtor which wcrc closed. sold. or othenvise
        ~ transferrcd within one year immediately pre(;eding the commencement of this casc. Include checking. sal                       or othcr financial accounts,
                 ccrtificates of deposit, or othcr instruments: ,harcs and share account~ held ill banks, credit unions, pension funds. eoopenl1i res. associations.
""
o
 c
                 brokeragc houses and other financiul institutions. (.\larricd dcbtors llling under clmpter 12 or chapter 13 must includc int()[mation concerning
1':
                 accounts or instruments held by or til]' either or both spouses whether or not ajoint petition is flkd. unless the spouses arc sepamted and ajoint
~                petition is not filed.)
'"'"
,~~ 12. Safe deposit boxes
        !\one
                 List each safe dcposit or other bo.\ or depository in I\hidl thc debtor has or had securities. cash. or othcr valllable~ within one year immcdiatel)
                 preceding the commcncement of this casco (lVhmied dehtors filing under chapter 12 or chapkr 13 mllst include boxcs or depositories of either or
                 both spouscs whcther or not ajoint petition is liled, uuless the spouscs arc separated and a.illint pctition is not tiled.)
:::.
       13. Setoffs
        J\'onc
                 List all setotfs made hy any creditor. including a hank against a dcbt or lkposit ofthe dehtor \\'ithi1l90 days preceding the commcncement ofthis
                 casc. (Married debtors filing under chapter 12 or ~h<lpter 13 must includc infoffilation concerning either or both spouscs whether or not a joint
                 petition is filed, unless the spouses are separated and ajoint petition is not tiled.)

~
~:     14. Property held for another person
        ~ List all propcrty owned by another pcrson tlmt the debtor holds or c0111rols.



       ] 5. Prior address of debtor
          1f dcbtor has moved within three years immcdiately prcceding the ~ommcnccmem ofthis case. list all premises which the debtl'r occupied during
        None
        ~ that period and \acatcd prior to the commcncement o[lhis cuse. Ir a joint petition is tiled, report also any separatc address 0 f eithcr spouse.

       ]6. Spouses and Forme.' Spollses
        None
                 If the debtorresides or rcsided in a communi!: propcrty state. commonwealth. or territor) i including Alaska, Arizona. Culifomia.ldaho. Louisiana,
                 Nevada. New Mexico, Puerto Rico. Texas. Washington, or Wisconsin) within eight years immediately preceding the commellCCll'cnt oflhe casc.
                 identifY thc Tl:Jmc of the dcbtor's spouse: and of any former spou~e \\ ho residcs or resided \Iith thc debtor in thc communit:, propc11y state.
                    Case 11-19152               Doc 1        Filed 09/28/11 Entered 09/28/11 08:39:27                                    Desc Main
                                                              Document     Page 40 of 55
      17. Environmental Information
      For the purpOSl': of this question, the following defInitions apply:
      "Environmental Law" mea]1~ any lcdcruL statl':. or local statute or regulation regulating pollution. contamination, release~ orIw7ardous or toxic suhstances.
      wastes or material into the air. land. soil. surfac~ \\atl:r. grounowuter. or other mediuill. including. but not limited to. statutes or regulations regulating
      the cleanup of these substances. wastes Of material.
      "Site" means any location. facility. or property as defined under an) El1\ironmental Law. whether or 110t presently or t(.lfmerly owned or operated h) the
      debtor. including, but not limited to, disposal sites.
      "'Hazardous Material" means anything defined as a hazardous waste. hazardous substance. toxic substance. hazardous material. pollutant or contaminant
      or similar tenn under an Environmentlll Law.

       -:\one
                a. List the nume and address of every site Il)r which the debtor has received notice in \\riting by a govcrnmental unit that it may be liable or
                potentially liable under or in violution of an Em iron menial Luw. Indicate thl: govcrnmental unit. the date of the notice. and, if kno\\n, the
                Environmental Law.

       ~onc
                b. List the name and mldress ofevcl') site lor which the dehtor provided notice to a gO\ernmental unit ofa releuse ofHazardous Material. Indicate
                the governmental unitlo which the notice was scnt and the date of the nOlieI.'.

       Nom:
                c. List all judicial or administrative proceedings, including scttlt:ments or orders. under any Environmentall.aw with respect to \\hi..:h the debtor
                is or was a part). Indicate the name and address of the governmental unit that is or was a party 10 the proceeding. and the docket number.

      18. Nature, location and name of business
                a.l{the debtor is an individual. list the names, addresses. taxpayer identil1caiion numbers. nature of the businesses. and beginning and ending dates
                of all businesses in which the debtor wus an otTIeer. diredor. purtner, or managing executive of a corporation. partner in a partnership. sole
                proprietor. or was self-employed in a tmde. profession. or other activity either full- or pati-time within six years immediately preceding the
                commcn..:emenl of this case. or in whieh the debtor owned 5 per..:ent or more of the \oting or equity se..:urities within six years immediately
                preceding the commencement of this ..:asc.
                {(Ihe debtor is a parlflership, list the names, addre~ses. taxpayer identificatilln numbers. nahu'c of the businesses. and beginning and ending dates
                of all businesses in which thc debtor was a patineI' or owned 5 pcrcent or more of the voting or equity securities, within six years immediately
                preceding the commencement of this case.
                I(the debtor is a corporation, lisl the names. addresses. taxpa;.er identitication numbers. nature ofthe businesses. and beginning and end ing clutes
                of all businesses ill which the dehtor wus a partner or owned 5 percent or more of the voting or equity securities withill six years immediately
                preceding the commencement of this ease.

       None
                b. IdentifY uny business listed il1 response to   ~uhdi\bion   a.. above. that is "single asset real estate" as defined in II U.S.c.   *101.
o [If cumpleted by an individual or individual and spuuse]
'i'
'"
())
())

@     I declare under penalty of perjury that J have read the answers contained in the foregoing statement of financial affairs and any attachments
      thereto and that they are true and correct.




                                                         Signature lsi Linda B. Wood-Boyle                  ~k1"ld4. ~ . .
                                                         of Debtor                                                                             Linda B.

                                                         Signature lsi Douglas R Wood -Boyle
                                                         of Joint Debtor
                                                                                                           X
                                                         (if any)

                                                                          .. 0 continuation pages attached


        Penalty/or making ajalse statement: Fine o/up fO 5500,000 or imprisonment fbI' up to 5 years or both I R Us.c.                                 ,I)   152 and 3571.
          Case 11-19152             Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                               Desc Main
                                                Document     Page 41 of 55
B22C (Official Form 22C) (Chapter 13) (12/10)                      According to the calculations required by this statement:
                                                                       The applicable commitment period is 3 years.
                                                                    ~The applicable commitment period is 5 years.
                                                                    ~I}jsposable income is determined undel' § 1325(b)(3).
Case Number:                                                           Disposable income is not determined undel' § 1325(b)(3).
                               Ofkno\\n)
                                                                   (Check the ho\es as directed in Lines 17 and 23 oflhis statement.)



                    CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION O.F COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and 1, this statement must be completed by every individual Chapter 13 debtor. whether or not filing jointly.
10int debtors may complete one statement only.


                                                  Part I. REPORT OF INCOME

         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.   0   Unmarried. Complete only Column A e'Debtor's Income") for Lines 2-10.
         b.   ~ Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
         A11 figures must reflect average monthly income received from all SOllr!..'es, derived during               Column A       I Column B
         the six calendar months prior to filing the bankruptcy case. ending on the last day of the                   Debtor's        Spouse's
         month before the filing. If the amount of monthly income varied during the six months. you                   Income           Income
         must divide the six-month total by six, and enter the result on the appropriate line.
   2     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $      6,346.15 $
                                                                             ~~~~~~~~~~~--------+---------~

         Income from the operation of a business, profession, or farm. Subtract Line b from Line
         a and enter the difference in the appropriate column(s) of Line 3. If you operate more than
         one business, profession or farm, enter aggregate numbers and provide details on an
         attachment. Do not enter a number less than zero. Do not include any part of the business
   3     expenses entered on Line b as a deduction in Part IV.




                                                                                                                                        $
         Rent and other real property income. Subtract Line b from Line a and enter the
         difference in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do
         not include any part of the operating expenses entered on Line b as a deduction in
         Part IV.
   4




                                                                                                                 $                      $
   5     Interest, dividends, and royalties.                                                                     $                      $
   6     Pension and retirement income.                                                                          $                      $
         Any amounts paid by another person or entity, on a I'egular basis, for the household
         expenses ofthe debtor or the debtor's dependents, including child support paid fOJ'
   7     that purpose. Do not include alimony or separate maintenance payments or amounts paid
         by the debtor's spouse. Each regular payment should be reponed in only one column; if a
         payment is listed in Column A, do not report that payment in Column B.                                  $                      $
         Case 11-19152              Doc 1       Filed 09/28/11 Entered 09/28/11 08:39:27                          Desc Main
                                                 Document     Page 42 of 55
B22C (Official Form 22C) (Chapter 13) (12110)
         Unemployment compensation. Enter the amount in the appropriate colull1n(s) of Line 8.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benel1t under the Social Security Act. do not list the amount of such compensation in
    8    Column A or B. but instead state the amount in the space below:
          Unemployment compensation
          claimed to be a benefit under the
          Social Security Act                        Debtor $                   Spouse $                                       $
                                                                                                              $
         Income from all other sources. SpecifY source and amount. Ifnecessary, list additional
         sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
         maintenance payments paid by your spouse, but include all other payments of alimony
         or sepal'ate maintenance. Do not include any benefits received under Ihe Social Security
    9    Act or payments received as a victim ofa war crime. crime against humanity, or as a victim
         of international or domestic terrorism.
                                                                                                          I

                                                                                           $
                                                                                                              $            S
         Subtotal. Add Lines 2 thru 9 in Column A, and. if Column B is completed, add Lines 2
    10
         through 9 in Column B. Enter the total(s).                                                           $    6,346.15 $
         Total. If Column B has been complt:ted, add Line 10. Column A to Line 10, Column B.
    II   and enter the total. If Column B has not been completed. enter the amollnt t1'om Line 1O,
         Column A.                                                                                            $                    6,346.15

                             Part II. CALCULATION OF § 132S(b)(4) COMMITMENT PERIOD

    12   Enter the amount from Line 11.                                                                                    $        6,346.15
         Marital Adjustment. If you are married, but are not filingjointly with your spouse, AND ifyou contend
         that calculation of the commitment period under § 1325(b)(-+) does not require inclusion of the income of
         your spouse, enter on Line 13 the amount of the inl:ome listed in Line 10, Column B that was NOT paid on
         a regular basis for the household expenses of you or your dependents and speci!)'. in the lines below, the
         basis for excluding this income (such as payment of the spouse's tax liability or the spouse's SUppOIt of
         persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
         purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
    13   adjustment do not apply, enter zero.
                                                                                                      !




                                                                                                      I
             Total and enter on Line 13.                                                                                   $            0.00
    14   Subtract Line 13 from Line 12 and enter the result.                                                               $        6,346.15
         Annualized cUl'rent monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number
    15
         12 and enter the result.                                                                                          $       76,153.80
         Applicable median family income. Enter the median famil;.- income for the applicable state and
         household size. (This information is available by family size at wW"LlIsdolg!2\;/ll~L or from the clerk of
    16   the bankruptcy court.)

         a. Enter debtor's state of residence: M~alSlSach!llSetbi>    ,«
                                                                                  b. Enter debtor's household size:   2"   $       68,243.00
         Application of § 1325(b)(4). Check the applicable box and proceed as directed.
         0     The amount on Line 15 is less than the amount on Line 16. Check the box for ''The applicable commitment period            IS
    17         3 years" at the top of page I of this statement and continue with this statement.
         5t The amount on Line 15 is not Jess than the amount on Line 16. Check the box for 'The applicable commitment
               period is 5 years" at the top of page I of this statement and l:ontinue with this statement.

                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
I
        Case 11-19152             Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                         Desc Main
                                              Document     Page 43 of 55
B22C (Official Form 22C) (Chapter 13) (12/10)
  18    Enter the amount from Line 11.                                                                                       $   6,346.15
        Marital ad.justment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the
        total of any income listed in Line 10. Column B that was NOT paid on a regular basis for the household
        expenses of the debtor or the debtor's dependents. Specif) in the lines below the basis for excluding the
        Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
        than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
        necessary, list additional adjustments on a separate page. [1' the conditions for entering this adjustment do
  19    not apply, enter zero.




                                                                                                                         I

         Total and enter on Line 19.                                                                                         $        0.00
  20    CUrl'ent monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                        $    6,346.15
        Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
  21
        12 and enter the result.                                                                                             $   76,153.80
  22    Applica ble median family income. Enter the amount from Line 16.                                                     $   68,243.00
        Application of § 1325(b)(3). Check the applicable box and proceed as directed.
        ~ The amount on Line 21 is mOI'e than the amount on Line 22. Check the box for "'Disposable income is determined
          under § 1325(b)(3)" at the top of page I of this statement and complete the remaining parts of this statement.
  23
        o   The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
            determined under § I325(b)(3)" at the top of page I of this statement and complete Pm1 VII ofthis statement. Do not
            complete Parts IV, V, or VI.

                    Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                           Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, apparel and services, housekeeping supplies, personal care, and
        miscellaneous. Enter in Line 24A the "TOlal" amount from IRS National Standards for Allowable Living
        Expenses for the applicable number of persons. (This information is available at W\vw.uspoj,gOV!usti or
 24A
        from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
        currently be allowed as exemptions on your federal income tax return, plus the number of any additional
        dependents whom you support.                                                                                         $     985.00
        National Standards: health care. Enter in Line al below the amount ti'om IRS National Standards for
        Out-of-Pocket Health Care for persons under 65 years of age. and ill Line a2 the IRS National Standards for
        Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
        \\'.\\;l\fL~lsp()Lgov!tlst/ or from the clerk ofthe bankruptcy court.) Enter in Line b 1 the applicable number of
        persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
        years of age or older. (The applicable number of persons in each age category is the number in that
        category that would currently be allowed as exemptions on your federal income tax return, pillS the number
        of any additional dependents whom you support.) Multiply Line al by Line hI to obtain a total amount for
 24B    persons under 65, and enter the result in Line c I. Multiply Line a2 by Line b2 to obtain a total amount for
        persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
        amount, and enter the result in Line 24B.
         Persons under 65 years of age                            Persons 65 years of age or older
         al.    Allowance per person                    60.00     31.    Allowance per person                  144.00
         bl.    N umber of persons                          2     b2.    Number of persons                           0
         cl.    Subtotal                              120.00      c2.    Subtotal                                 0.00
                                                                                                                             $     120.00
              Case 11-19152            Doc 1       Filed 09/28/11 Entered 09/28/11 08:39:27                         Desc Main
                                                    Document     Page 44 of 55
      B22C (Official Form 22C) (Chapter 13) (12/10)
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
              and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
       25A    information is available at \\iW\v,u"'sloj.go\ ust or tl'om the clerk of the bankruptcy court). The applicable
              family size consists of the number that would currently be allowed as exemptions on your federal income
              tax return, plus the number of any additional dependents whom you support.                                       $   607.00
              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below. the amount of
              the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
              information is available at W\\\LLI~clQLgQ\LI~t or from the clerk of the bankruptcy court) (The applicable
              family size consists of the number that would currently be allowed as exemptions on your federal income
              tax return. plus the number of any additional dependents whom you support.); enter on Line b the total of
              the Average Monthly Payments for any debts secured by your home, a~ stated in Line 47; subtract Line b
       25B    from Line a and enter the result in Line 2513. Do not enter an amount less than zero.
               a.    IRS Housing and Utilities Standards; mortgage/rental expense            $                      1,285.00
               b.    Average Monthly Payment for any debts secured by your home, if
                     any, as stated in Line 47                                               $                      1,416.00
               c..   Net mortgage/rental expense                                             Subtract Line b from Line a
                                                                                                                               $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
              and 2513 does not accurately compute the allowance to which you are entitled under the IRS Housing and
,.,           Utilities Standards. enter any additional amount to which you contend you are entitled, and state the basis
c             for your contention in the space below:
o.,
 ro
~
<J)
        26
§
o
w..




                                                                                                                               $
              Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
              an expense allowance in this category regard less of whether you pay the expenses of operating a vehicle
              and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating
              expenses are included as a contribution to your household expenses in Line 7.
       27A    DO ~I       D20rmore.

              If you checked 0, enter on Line 27A the "Public Transportation" amount fi'om IRS Local Standards:
              Transportation. If you checked I or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS
              Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
              Statistical Area or Census Region. (These amounts are available at \\W\\;l!s<JQj.J;~QXl!~1 or from the clerk
              of the bankruptcy court.)                                                                                        $   277.00
              Local Standards: transportation; additional public transportation expense. If you pay the operating
              expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
       27B    additional deduction tor your public transportation expenses, enter on Line 2713 the "Public
              Transportation" amount fi'om IRS Local Standards: 'Transportation. (This amount is available at
              \~\\\y.!j~clQj:gQ\i!l!sJ~ or from the clerk of the bankruptcy court.)                                            $    20.00
         Case 11-19152              Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27                           Desc Main
                                               Document     Page 45 of 55
B22C (Official Form 22C) (Chapter 13) (12/10)
         Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
         which you claim an ownership/lease expense. (You may not claim an ownershipilease expense for more
         than two vehicles.)

         Ml     D 2 or more.
         Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Loeal Standards:
         Transportation (available at     .usdoi.g,         or from the clerk of the bankruptcy court): enter in Line b
    28   the total of the Average Monthlv P~vn~~;ts f()l' anv debts secured bv Vehicle L as stated in Line 47:
                               '-        ..   <f             .;               ..



         subtract Line b from Line a and enter the result in Line 28. Do not entel' an amount less than zel'o.
           L
           -
                 IRS Transportation Standards, Ownership Costs                             IS                      496.00

                ~verage Monthly Payment for any debts secured by Vehicle           I, as
                  ated in Line 47                                                           $                       42.83

          c.     Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a
                                                                                                                            $    453.17

         Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only jfyou
         checked the "2 or more" Box in Line 28.

         Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards:
         Transportation (available at \vyY\y.usgoj,gov u~t! or from the clerk of the bankruptcy court): enter in Line b
         the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47;
    29   subtract Line b from Line a and enter the result in Line 29. Do not enter an amount less than zero.
          a.     IRS Transportation Standards, Ownership Costs                              $

                 Average Monthly Payment for any debts secured by Vehicle 2, as
           b.    stated in Line 47                                                          $
          c.     Net ownership/lease expense for Vehicle 2                                 I Subtract Line b from Line a    $
         Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
    30   federal, state. and local taxes. other than real estate and sales taxes, such as income taxes. self-employment
         taxes. social-security ta>:es, and Med icare taxes. Do not include real estate or sales taxes.                     $   1,503.63
         Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
    31   deductions that are required for your employment. slich as mandatory retirement contributions, union dues,
         and uniform costs. Do not include discretional}, amounts, such as voluntal}' 401(k) contributions•                 S
         Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
•
    32   for term life insurance for yourself. Do not include premiums for insurance on yoU!' dependents, for
         whole life or for any other form of insurance.                                                                     S    216.00
         Other Necessary Expenses: court-ordered payments. Enter the total monthly alllount that you are
    33   required to pay pursuant to the order of a court or administrative agency. slich as spollsal or child SliPPOrt
         payments. Do not include payments on past due obligations included in Line 49.                                     $
         Other Necessary Expenses: education for employment or for a physically or mentally challenged
         child. Enter the total average monthly amollnt that you actually expend for education that is a condition of
    34
         employment and for education that is required for a physically or mentally challenged dependent child tor
         whom no publ ic ed ucation providing similar services is avai lable.                                               S
         Othel' Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
    35   on childcare~--such as baby-sitting, day care. nursery and preschool. Do not include othel' educational
         payments.                                                                                                          $
         OtheJ' Necessary Expenses: health care. Enter the total average monthly amount that you actually
         expend on health care that is required for the health and welfare of yourself or your dependents, that is not
    36
         reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
         Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.               $
         Other Necessary Expenses: telecommunication services. EliteI' the total average monthly amount that
         you actually pay 101' telecommunication services other than your basic home telephone and cell phone
    37   service--~such as pagers. can waiting, calJer id. special long distance, or internet service to the extent
         necessary for your health and welfare or that OfYOlif dependents. Do not include any amount previously
         deducted.                                                                                                          $
         Case 11-19152                   Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                         Desc Main
                                                     Document     Page 46 of 55
B22C (Official Form 22C) (Chapter ]3) (12/10)
  38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                 $        4,181.80

                                          Subpart B: Additional Expense Deductions under § 707(b)
                                         Note: Do not include any expenses that you have listed in Lines 24-37

        Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
        expenses in the categories set out in lines a-c below that are reasonahly necessary for yourself. your
        spouse, or your dependents.
                                                                                                                 !




                      lity                                                                                       I
  39                             rings                                                                           I
        Total and enter on Line 39                                                                                          $         216.86
        (fyou do not actually expend this total amount, state your actual total average monthly expenditures in
        the space below:
                                                                                                                                                  ',,'
        $ .........      .   "                                                                                                  ;.    .',:',.!,
        Continued contributions to the care of household or family members. Enter the total average actual
        monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
  40
        elderly, chronically ill, or disabled memher of your household or member of your immediate family who is
        unable to pay for such expenses. Do not include payments listed in Line 34.                                         $         100.00
        Protection against family violence. Enter the total average reasonably necessary monthly expenses that
        you actually incur to maintain the safety of your famil)· under the Family Violence Prevention and
  41
        Services Act or other applicable federal law. The nature of these expenses is required to be kept
        confidential by the court.                                                                                          $
        Home energy costs. Enter the total average monthly amount, in excess of the allowance speciJied by IRS
        Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
  42
        provide your case trustee with documentation of your actual expenses, and you must demonstrate
        that the additional amount claimed is reasonable and necessary.                                                     $

        Education expenses for dependent children under] 8. Enter the total average monthly expenses that you
        actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or
  43    secondary school by your dependent children less than 18 years of age. You must provide your case
        trustee with documentation of your actual expenses, and you must explain why the amount claimed
        is reasonable and necessary and not already accounted for in the IRS Standards.                                     $
        Additional food and clothing expense. Enter the total average monthly amount by which your food and
        clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
  44    National Standards. not to exceed 5%) of those combined allowances. (This information is available at
        W\V\V~u~!i()j.g()yLll.g~ or from the clerk of the bankruptcy court.) You must demonstrate that the
        additional amount claimed is reasonable and necessary.                                                              $
        Chal'itable contl·ibutions. Enter the amount reasonably necessary for you to expend each month on
        charitable contributions in the form of cash or financial instruments to a charitable organization as defined
  45
        in 26 U .S.c. § 170( c)( I )-(2). Do not include any amount in excess of 15'% of your gross monthly
        income.                                                                                                             $          160.00
  46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                         $         476.86
         Case 11-19152                Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                         Desc Main
                                                  Document     Page 47 of 55
822C (Official Form 22C) (Chapter 13) (12/10)

                                                  Subpart C: Deductions for Debt Payment

        Future payments on secured claims. For each of your debts that is secured by an interest in property that
        you 0\'\11, list the name of the creditor, identify the property securing the debt, state the Average Monthly
        Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
        the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
        following the filing ofthe bankruptcy case. divided by 60. ffnecessary, list additional entries on a separate
        page. Enter the total of the Average Monthly Payments on Line 47.
                                                                                            Average       Does payment I
  47           I                                                                            Monthly     include taxes or
                   Name of Creditor                 Propelty Securing the Debt              Payment          insurance? !
         a.        Bank Of America                   Residence                         $    1,416.00    ~yes Dno
         b.        Chase Auto Finance               Automobile (1)                     $      42.83     Dyes ~no
         c.        InnSeason Vacation Club          Timeshare Interest, Falmou . $            34.90     Dyes ~no
                                                                         Total: Add lines a. band c.                        $    1,493.73
        Other payments on secured claims. If any of debts listed in Line 47 are secured hy your primary
        residence, a motor vehicle, or other propelty necessary lur your support or the support of your dependents,
        you may include in your deduction 1/60th orany amount (the "cure amount") that you must pay the
        creditor in addition to the payments listed in Line 47. in order to maintain possession of the property. The
        cure amount would include any sums in default that must be paid in order to avoid repossession or
        foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
        separate page.
  48                                                                                                       I /60th of the
                   Name of Creditor                            Property Securing the Deht                 Cure Amount
         a.        Bank Of America                             Residence                                 $        140.00
          b.                                                                                             $
         c.                                                                                              $
                                                                                             Total: Add lines a, band c.
                                                                                                                            1$    140.00
        Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
  49    such as priority tax, child support and alimony claims. for which you were liable at the time of your
        bankruptcy filing. Do not include current obligations, such as those set out in Line 33.                            $
        Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Lille b. and enter
        the resulting administrative expense.
         a.        Projected average monthly Chapter 13 plan payment.              S
                                                                                                              .
          b.       Current multiplier fur your district as determined under
                   schedules issued by the Executive Office tor United States
  50
                   Trustees. (This information is available at
                   L'0'{\Y,!!~9j,gP\::!lIStJ or from the clerk of the bankruptcy
                   COUlt.)                                                         X
         c.        Average monthly administrative expense of Chapter 13            Total: Multiply Lines a
                   case                                                            ancl b
                                                                                                              i             $
  51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                          $    1,633.73

                                                 Subpart D: Total Deductions from Income

  52    Total of all deductions from income. Enter the total of L illes 38. 46, and 51.                                     $    6,292.39
              Case 11-19152              Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                           Desc Main
                                                     Document     Page 48 of 55
      B22C (Official Form 22C) (Chapter 13) (12/10)

                             ,Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

        53    Total current monthly income. Enter the amount 11'om Line 20.                                                      $      6,346.15
              Support income. Enter the monthly average of any child support payments. foster care payments, or
        54    disability payments for a dependent child, reported in Part I, that you received in accordance with
              applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                    $

              Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
        55    from wages as contributions for qualified retirement plans, as specified in § 541 (b)(7) and (b) all required
              repayments of loans from retirement plans, as specified in § 362(b)( 19).                                          i$
        56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $      6,292.39
              Deduction for special circumstances. If there are special circumstances thatjustity additional expenses
              for which there is no reasonable alternative. describe the special circumstances and the resulting expenses
              in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
              total in Line 57. You must provide your case trustee with documentation of these expenses and you must
              provide a detailed explanation of the special circumstances that make such expenses necessary and
              reasonable.
                                                                                                                   Amonnt of
        57
              I         Nature of special circumstances                                                             expense
;".
c
o                 a.    Condominium Fee                                                                       $         275.00
                   b.                                                                                         $

              I   c.                                                                                          $
                                                                                               Total: Add Lines a, b. and c
                                                                                                                                 $          275.00
              Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
        58
              enter the result.                                                                                                  $      6,567.39
        59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                  $       -221.24

                                                 Part VI. ADDITIONAL EXPENSE CLAIMS

             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
             and welfare of you and your l1unily and that you contend should be an additional deduction from your current monthly
             income under ~ 707(b)(2)(A)(ii)(l). If necessary, Iist additional sources on a separate page. All figures should retlect your
             average monthly expense for each item. Total the expenses.
                        Expense Description                                                                            Monthly Amount
        60
                  a.                                                                                              !$
                  b.                                                                                               $
                  c.                                                                                               $
                                                                                Total: Add Lines a. band c         $


                                                           Part VII. VERIFICATION

             I declare under penalty of perjury that the information provided in this statement is true and correct. (iflhis ajoint case,
             both debtors must sign.)

        61
                                                   Signature:   /s[Lintja§.WQQd~§()YletJfYtYt£a]w;) -&L!lfl~
                                                                                                     ~........-~t:. .
                                                                                                   iDeblo:)


                                                   Signature:   /SlDOUg/~§:BWOOd.§gYle".d~'·~ ___­ (~ .~.~
                                                                                   .(\ 11ointl~VP~~
         Case 11-19152          Doc 1      Filed 09/28/11 Entered 09/28/11 08:39:27                    Desc Main
                                            Document     Page 49 of 55
                                              United States Bankruptcy Court
                                                  District of Massachusetts

INRE:                                                                                  Case No.
~-99~g~!!.QYJ~LbL'lg~J?~~WOO.g.~I3()~leJQ9lJglas .R                                    Chapter   1~.
                                        D.:btor(s)

                                        VERIFICATION OF CREDITOR MATRIX
The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best ofmy(our) knowledge.




                                        Signature:    ;r;,~~r9io"{;,,,,!rf;,~~Y/~1d~                                      neb,.,


                                        Signature:    I~Q9uglas)311(().oc! ~Boyle kt1.-~A~/~
                                                                          '"
                                                      Douglas R Wood -SOYlet            /7i::                       Debtor. if any




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Case 11-19152   Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                           Document     Page 50 of 55




                  lianceOne Rece            es Managenent     nco
                4850 Street Ro                300
                ~revose, PA  19053


                Anerican Express
                PO Box 981537
                El Paso, TX 79998


                        f America
                450   A.:nerica~:
                               Street #SV416
                       Vall ,CA 9 065


                Boston Securl ties &:      e Co:m.,'11is s ior:
                33 Arch Street, 23rd Floor
                Boston. MA 02110 1424


                Calvary Portfolio Service
                PO Box 2 286
                     ,AZ 85285


                   ita 1 One
                PO Box 30281
                Salt Lake City, UT        84130


                CBE
                1 0         ogy P
                Cedar Falls, IA 5061


                     er 13 Trustee
                PO Box 8250
                Boston, MA 02222


                   s Auto Finance
                PO Box 901076
                Fort Worth, ~x 7610
Case 11-19152    Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                          Document     Page 51 of 55




                Chase Bank USA
                PO Box 15298
                     ngton, DE     1 8 0


                Chase Bank USA NA
                   Box 15298
                     ngton, DE         50


                   se Bank USA, NA
                PO Box 15298
                     ngton, DE 19850


                 itibank
                PO Box 769006
                San Antonio, TX         45


                Citibank/Citgo
                PO Box 6497
                Sioux Falls, SD             7


                Continental Centra              t Of MA Inc.
                56   Palmer Way,   teo G
                Carlsbad, CA 92010


                Continental Centra C            t, Inc.
                PO Box 131120
                Car sbad, CA 920 3


                       Control, LLC
                     Pahntom Dr      St. 330
                                6304


                Discover Financial
                PO Box 6103
                Carol Stream, II 601 7
Case 11-19152    Doc 1     Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                            Document     Page 52 of 55




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                Norwell, NA 0 061


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                Buffalo Grove,       60089


                      rstSource            age, LLC
                205 Bryant
                }:'..rnhers t, NY


                Gary H. Kreppel, Esq.
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                ~'lar lborough, MA 01752


                Home Depot it              k
                PO Box 697
                Sioux Falls, S         57117


                HSBC Bank
                PO Box 5253
                Carol Stream, I            60197
Case 11-19152   Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                         Document     Page 53 of 55




                 nnSeason Va     ion Club
                Attn: Back-            rtment
                72-B Hazel        Read
                Ashevi~le, NC       06


                Internal Revenue Service
                PO Box 21126
                Philadelphia, PA   9114


                Law Offices          rd Lee Schiff, PC
                340 Main Street,   teo 959
                Worcester, MA    160


                Lustig, Glaser & Wilson
                PO Box 9127
                Needham, MA 02492


                Massachusetts      rtment Of Revenue
                Bankruptcy     t
                PO Box 9564
                Boston, ]ViA 02 14


                NARS Call Center Solutions
                PO Box 701
                   sterfield, MO 63006


                Office Of       At      General
                CorrIDonwealLh Of Massachusetts
                One Ashburton
                Boston, MA 02108


                Pa Pal/Bill Me Later
                PO Box 2394
                Omaha, NE 68103
Case 11-19152    Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                          Document     Page 54 of 55




                Pinnacle Recovery Inc.
                PO Box 130848
                Carlsbad, CA 92013


                Richard J. Boudreau & Assoc. LLC
                Attn: Charlene M. Sandlin
                5 Industrial Way
                Salem, NH 03079


                Sallie Mae
                11100 USA Pkwy
                Fishers, IN 46037


                Securities And Exchange COITh'llission
                Boston District Office
                73 Tremont Street, 6th Floor
                Boston, MA 02108


                Securities And Exchange Commission
                450 Fifth Street, NW
                Washington, DC 20549


                Shell/Citibank S.D.
                PO Box 6497
                Sioux Falls, SO 57117


                Titanium Solutions
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                Fort Hill, SC 29707


                United States Attorney
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                One Courthouse Way, Suite 9200
                Boston, MA 02210
Case 11-19152    Doc 1   Filed 09/28/11 Entered 09/28/11 08:39:27   Desc Main
                          Document     Page 55 of 55




                Winchester    it 1
                PO Box 4:5581
                Boston, MA 02241
